       Case 4:24-cv-00085-CDL        Document 1   Filed 06/07/24   Page 1 of 80




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION

MADISON SHEWMAKER and            )
JAMAAR FAISON, individually and as
                                 )
a representative on behalf of a class of
                                 )
similarly situated persons,      )
                                 )
       Plaintiffs,               )
                                 )
v.                               )             Case No:
                                 )
YARDI SYSTEMS, INC.; ALCO        )
MANAGEMENT, INC.; ARDMORE        )
RESIDENTIAL, INC.; BALACIANO     )
GROUP; BALKE BROWN               )
TRANSWESTERN, INC.; BANYAN       )
REALTY PARTNERS LLC;BEZTAK )
MANAGEMENT COMPANY; BRIDGE )
PROPERTY MANAGEMENT, L.C.;       )
CALIBRATE PROPERTY               )
MANAGEMENT, LLC; DALTON          )
MANAGEMENT, INC.; FPI            )
MANAGEMENT, INC.; GRUBB          )
PROPERTIES, LLC; HNN             )
ASSOCIATES, LLC; KRE GROUP,      )
INC.; LEFEVER MATTSON;           )
LUMACORP, INC.; MANCO            )
ABBOTT, INC.; MCWHINNEY          )
PROPERTY MANAGEMENT, LLC;        )
MORGUARD MANAGEMENT              )
COMPANY INC.; PRG REAL           )
ESTATE MANAGEMENT, INC.;         )
R.D. MERRILL REAL ESTATE         )             JURY TRIAL DEMANDED
HOLDINGS, LLC; RAM PARTNERS, )                 CLASS ACTION COMPLAINT
LLC; SINGH DEVELOPMENT           )
COMPANY, LTD; SUMMIT             )
MANAGEMENT SERVICES, INC.;       )
CREEKWOOD PROPERTY               )
CORPORATION; TOWNE               )
PROPERTIES ASSET MANAGEMENT )
COMPANY, LTD.; TRIBRIDGE         )
RESIDENTIAL, LLC; WESTDALE       )
ASSET MANAGEMENT, LTD (L.P.); 10 )
FEDERAL MGMT, LLC; &             )


                                           1
       Case 4:24-cv-00085-CDL           Document 1       Filed 06/07/24      Page 2 of 80




FICTITIOUS DEFENDANTS JOHN                    )
DOES 1-100.                                   )
                                              )
       Defendants.                            )

                                CLASS ACTION COMPLAINT
       Plaintiffs Madison Shewmaker and Jamaar Faison (“Plaintiffs”), individually and on behalf

of all others similarly situated, for their Class Action Complaint against Defendants Yardi Systems,

Inc. (“Defendant” or “Yardi”), Alco Management, Inc. (“Alco”), Ardmore Residential, Inc.

(“Ardmore”), Balaciano Group f/k/a California Home Builders/DEELS Properties (“Balaciano”),

Balke Brown Transwestern, Inc. (”2B Residential’), Banyan Realty Partners LLC d/b/a Banyan

Living (“Banyan”), Beztak Management Company (“Beztak”), Bridge Property Management,

L.C. (“BPM”), Calibrate Property Management, LLC (“Calibrate”), Dalton Management, Inc.

(“Dalton”), FPI Management, Inc. (“FPI”), Grubb Properties, LLC (“Link Apartments”), HNN

Associates, LLC (“HNN”), KRE Group, Inc. d/b/a Kushner Real Estate Group (“KRE”), LeFever

Mattson d/b/a Lefever Mattson Property Management (“Lefever Mattson”), LumaCorp, Inc., d/b/a

LUMA Residential, Inc. (“Luma”), Manco Abbott, Inc. (“Manco Abbott”), McWhinney Property

Management, LLC (“McWhinney”), Morguard Management Company Inc. (“Morguard”), PRG

Real Estate Management, Inc. (“PRG”), R.D. Merrill Real Estate Holdings, LLC d/b/a Pillar

Properties (“Pillar Properties”), RAM Partners, LLC (“RAM’), Singh Development Company,

LTD. (”Singh”), Summit Management Services, Inc. (“Summit”), Creekwood Property

Corporation (“Tonti Properties”), Towne Properties Asset Management Company, LTD.

(“Towne”), Tribridge Residential, LLC (“Tribridge”), Westdale Asset Management, LTD. (L.P.)

(“Westdale”), 10 Federal MGMT, LLC d/b/a 10 Federal Companies (“10 Federal’), and Fictitious

Defendants John Does 1-100 (collectively “Defendants”), based upon personal knowledge as to




                                                  2
        Case 4:24-cv-00085-CDL                Document 1         Filed 06/07/24         Page 3 of 80




their own actions and based upon the investigation of counsel with respect to all other matters,

allege as follows:

                                             INTRODUCTION

        1.       The number of Americans living in apartments is increasing.

        2.       According to the United States Census, 35% of households live in rented structures

and 64% of those rented structures are apartments.1

        3.       Alongside increasing use of rental structures, rent is up nearly 20% since 2020, with

the largest increases concentrated on lower- and middle-tier apartments rented by lower-income

consumers.2

        4.       About half of renters now pay more than 30% of their income in rent and utilities

and rising shelter costs were responsible for over two-thirds of January’s inflation.3

        5.       Multifamily Markets, a.k.a. apartment markets, are consequently ripe for unlawful

collusion: Property Managers and Landlords are increasingly using software relying on algorithms

to determine their rental unit prices that threaten to remove renters’ ability to vote with their feet

and comparison-shop for the best apartment deal around.4

        6.       Using new technology to collude on rental pricing, however, remains unlawful.

        7.       And automating an anticompetitive scheme does not make it less anticompetitive.5



1
  U.S. Census Bureau, "Selected Housing Characteristics.” American Community Survey, ACS 1-Year Estimates Data
Profiles, Table DP04", 2022, https://data.census.gov/table/ACSDP1Y2022.DP04?g=010XX00US; Joint Center for
Housing         Studies      of       Harvard       University,       America’s     Rental     Market       2024,
https://www.jchs.harvard.edu/sites/default/files/reports/files/Harvard_JCHS_Americas_Rental_Housing_2024.pdf
2
  U.S. Bureau of Labor Statistics, Consumer Price Index for All Urban Consumers: Rent of Primary Residence in U.S.
City Average [CUUR0000SEHA], retrieved from FRED, Federal Reserve Bank of St. Louis; https://fred.stlouisfe
d.org/series/CUUR0000SEHA, May 3, 2024.
3
   “Rising rents push US inflation higher; rate cuts still expected in 2024,” Reuters (February 13, 2024),
https://www.reuters.com/markets/us/us-consumer-prices-rise-more-than-expected-january-2024-02-13/
4
  See, e.g., Salil K. Mehra, Price Discrimination-Driven Algorithmic Collusion: Platforms for Durable Cartels, 26
STAN. J. L. & BUS. FIN. 171, 177 (2021).
5
  “Price Fixing Algorithm is Still Price Fixing” Federal Trade Commission Business Guidance Blog, (March 4, 2024)
https://www.ftc.gov/business-guidance/blog/2024/03/price-fixing-algorithm-still-price-

                                                        3
           Case 4:24-cv-00085-CDL          Document 1        Filed 06/07/24        Page 4 of 80




           8.    In a competitive Multifamily Market, Property Managers and Landlords are blind

to competitors’ pricing strategies and act unilaterally to price rents at optimal positions to attract

renters.

           9.    This is usually done by offering a combination of various price-related terms

including, among other incentives and elements, the stated monthly rental price, up-front

discounts, and length-of-lease discounts.

           10.   Defendant Yardi Systems, Inc. (“Yardi”), a California-based real estate software

provider, collaborated with its Landlord and Property Manager Clients across the nation by

adopting a coordinated pricing strategy using Yardi’s “RENTmaximizer” centralized algorithm

tool.6

           11.   Yardi and its RENTmaximizer clients (“Yardi Client Defendants”) rely on a

cooperative exchange between entities that would otherwise be competitors to supply the

“RENTmaximizer” algorithm’s collective data set.

           12.   Yardi’s clients each give their competitively sensitive unit pricing and supply

information to Defendant Yardi, who uses that information to organize market-wide lease pricing

that eliminates competition and maximizes profits for the Defendants.

           13.   In exchange for and based on that collective data, Yardi’s clients are provided

automated daily rental prices set at the maximum market tolerance and are able to offer

noncompetitive prices to renters without pricing concessions.




fixing?utm_campaign=landlords_and_property_ma&utm_content=1709317844&utm_medium=social&utm_source
=linkedin.
6
  Upon Information and belief, Defendant Yardi subsequently renamed its RENTmaximizer tool to “Revenue IQ.”
Accordingly, this Complaint references Defendant Yardi’s product and service at issue as “RENTmaximizer”
regardless of whether it was named RENTmaximizer or Revenue IQ at the time, unless otherwise noted.

                                                    4
         Case 4:24-cv-00085-CDL                Document 1           Filed 06/07/24         Page 5 of 80




         14.      In other words, Yardi’s clients do not fear being undercut by a competitor’s rental

pricing because their competitors are using the same pricing thanks to Yardi’s “RENTmaximizer.”

         15.      Defendants’ misconduct—centered on the coordination and setting of optimal

pricing through a shared, centralized algorithm—is not meaningfully different than a traditional

hub-and-spoke price-fixing conspiracy.7

         16.      This type of agreement to set prices amongst horizontal competitors is per se illegal,

even when the agreement is through an intermediary, like Yardi.

         17.      Defendants conspired to fix rental pricing in the multifamily market, including, but

not limited to, fixing advertised list prices, fixing end lease prices, and fixing market conditions to

eliminate concessions and specials by using Defendant Yardi’s algorithmic software pricing to

systematize rents within the multifamily market.

         18.      Plaintiffs bring this class action against Defendants for unlawfully conspiring to

fix, raise, stabilize, and maintain nationwide multifamily rental prices at artificially high levels and

exerting control over the multifamily rental market, for unlawfully agreeing to exchange

competitively sensitive data in violation of the Sherman Act 15 U.S.C. § 1, et seq., and for damages

as a result of Defendants’ wrongful conduct in connection with marketing, pricing, leasing, and

management of multifamily residential real estate units from September 8, 2019 through the

present in the nationwide multifamily housing rental market (hereinafter “the multifamily

market.”).




7
  See Federal Trade Commission & U.S. Department of Justice, Antitrust Guidelines for Collaborations Among
Competitors, Pg. 15–16 (April 2000) (FTC and DOJ’s Antitrust Guidelines for Collaborations Among Competitors”
emphasize that “[o]ther things being equal, the sharing of information relating to price, output, costs, or strategic
planning is more likely to raise competitive concern than the sharing of information relating to less competitively
sensitive variables. Similarly, other things being equal, the sharing of information on current operating and future
business plans is more likely to raise concerns than the sharing of historical information.”). These are precisely the
types of information Defendants exchange through Yardi.

                                                          5
         Case 4:24-cv-00085-CDL                 Document 1           Filed 06/07/24          Page 6 of 80




         19.      This “give to get” conspiracy Plaintiffs challenge is per se unlawful, and Plaintiffs

bring this action as a class action on behalf of a class of individuals to recover damages, trebled,

as well as injunctive and other appropriate relief, detailed infra, on behalf of all others similarly

situated.8

                                                   PLAINTIFFS

         20.      At all relevant times, Plaintiff Madison Shewmaker was and has been a resident

and citizen of the State of Georgia, residing within Muscogee County, Georgia.

         21.      Plaintiff Shewmaker rents multifamily residential units in properties managed by

Landlord Defendant Ram Partners, LLC.

         22.      At all relevant times, Plaintiff Jamaar Faison was and has been a resident and citizen

of the State of Georgia, residing within Muscogee County, Georgia.

         23.      Plaintiff Faison rents multifamily residential units in properties managed by

Landlord Defendant Ram Partners, LLC.

         24.      Plaintiffs Shewmaker and Faison signed their unit leases with Midland Falls

Apartment Complex, f/k/a Whisperwood Apartment Complex located at 6363 Flat Rock Rd,

Columbus, GA 31907 from March 16, 2022, to March 15, 2023, then from March 16, 2023, to

January 2024, then January 2024 to the present.




8
  This is the fourth known action against Landlords and their pricing coordination: 1. In re: RealPage Inc. Rental
Software Antitrust Litigation is a multi-district litigation against RealPage, Inc. and a different group of property
owners and managers, which is in discovery following a partial denial of a Rule 12(b)(6) motion to dismiss. Yardi is
not a party in that litigation. In re: RealPage Inc. Rental Software Antitrust Litigation (No. II), md-03071, (M.D. Tenn.
2023). 2. Duffy v. Yardi Systems Inc. et al, is against Yardi and a group of property owners and alleging that
Defendants’ use of algorithmic pricing violates Section 1 of the Sherman Act. The parties have briefed the Defendants’
Rule 12(b)(6) motion to dismiss. Duffy v. Yardi Systems Inc. et al., cv-01391, (W. Wash. 2023) 3. Daniel Frank et al
v. Yardi Systems, Inc. et al, is against Yardi and a group of landlords filed in the Central District of California,
differing from Duffy in that the action alleges that the unlawful price fixing is the sharing of competitively sensitive
data for the purpose of allowing Yardi to use that confidential data to set the rental prices well above those that would
exist in a competitive market which the Landlords then impose on their tenants. The parties there have only begun to
answer Plaintiffs’ Complaint. Daniel Frank v. Yardi Systems, Inc., et al., cv-617 (C.D. Cal. 2024).

                                                           6
         Case 4:24-cv-00085-CDL                Document 1          Filed 06/07/24          Page 7 of 80




         25.      Plaintiffs Shewmaker and Faison paid inflated rental prices and were otherwise

damaged by all Defendants as a result of Defendant Ram Partners, LLC’s usage of Yardi’s

centralized pricing mechanisms, management, and other related, coordinated unlawful actions.

                                                DEFENDANTS

     A. Defendant Yardi

         26.      Defendant Yardi Systems, Inc. (“Yardi”) is a privately owned California

corporation headquartered in Santa Barbera, California, and doing business in over 40 offices

throughout North America, Europe, Middle East, Asia and Australia, employing over 9,000

people.9

         27.      Defendant Yardi is a software vendor who licenses and supplies property

management applications and services for use within the real estate industry, including the

RENTmaximizer/Revenue IQ revenue management software described in this Complaint.

         28.      In addition to designing and developing property management software, Yardi

licenses, hosts, manages, and supports that software for its real estate and property management

clients. 10

     B. Yardi Client Defendants

         29.      Defendant Alco Management, Inc. (“Alco”) is a Tennessee corporation

headquartered in Memphis, Tennessee.

         30.      Alco is a multifamily property manager and owner of more than 6,000 rental units

throughout 9 states. 11




9
  See Yardi, “Yardi Culture” located at https://careers.yardi.com/yardi-culture/.Last accessed May 8, 2024.
10
   See Yardi, Voyager Residential, (2023), https://www.yardi.com/products/yardi-voyagerresidential/.
11
   https://www.alcomgt.com/ Last Accessed May 2, 2024.

                                                          7
          Case 4:24-cv-00085-CDL           Document 1        Filed 06/07/24        Page 8 of 80




          31.   Beginning in 2015, Alco and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates, utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.12

          32.   Alco entered into a written contract, paid for, and used RENTmaximizer (now

Revenue IQ) software to artificially raise the rental prices of its multifamily residential property

leases.

          33.   Alco entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing, and supply

outputs thereby artificially raising the multifamily unit market rents.

          34.   Alco entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

          35.   Defendant Ardmore Residential, Inc. (“Ardmore”) is a North Carolina corporation

headquartered in Greensboro, North Carolina.

          36.   Ardmore is a multifamily property manager and owner of over 6,000 rental units in

apartment communities throughout the Southeast United States.13




12
   Alco management, Inc. Increases Overall NRI by Nearly 4%and Improves Occupancy with Yardi RENTmaximizer,
Business Wire (April 08, 2015); https://www.businesswire.com/news/home/20150408005205/en/Alco-Management-
Inc.-Increases-Overall-NRI-by-Nearly-4-and-Improves-Occupancy-with-Yardi-RENTmaximizer.; The Benefits of
BI, Alco Management (November 8, 2017), https://www.alcomgt.com/blog/2017/11/08/the-benefits-of-bi/.
13
         https://www.ardmoreresidential.com/index.aspx.      Last     Accessed      May        2,    2024;
https://www.ardmoreresidential.com/managementteam.aspx; Last Accessed May 2, 2024.

                                                    8
          Case 4:24-cv-00085-CDL          Document 1        Filed 06/07/24       Page 9 of 80




          37.   Beginning in 2016, Ardmore and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.14

          38.   Ardmore entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

          39.   Ardmore entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing, and supply

outputs thereby artificially raising the multifamily unit market rents.

          40.   Ardmore entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

          41.   Defendant Balaciano Group f/k/a California Home Builders/DEELS Properties

(“Balaciano”) is a California stock corporation headquartered in Canoga Park, California.

          42.   Balaciano is a multifamily property manager and owner of over 2,000 rental units

within 16 apartment communities throughout the state of California.15

          43.   Balaciano and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates utilized Yardi’s RENTmaximizer as part of the process for determining the price of rental

leases.


14
    Ardmore Residential Raises Rents 5-6% with Yardi RENTmaximizer, Business Wire (Apr. 21, 2016),
https://www.businesswire.com/news/home/20160421005001/en/ArdmoreResidential-Raises-Rents-5-6-with-Yardi-
RENTmaximizer.
15
   https://balaciano.com/portfolio/ Last Accessed May 2, 2024.

                                                   9
       Case 4:24-cv-00085-CDL             Document 1         Filed 06/07/24        Page 10 of 80




        44.     Balaciano entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

        45.     Balaciano entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        46.     Balaciano entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        47.     Defendant Balke Brown Transwestern, Inc. (”2B Residential’) is a Missouri

corporation headquartered in St. Louis, Missouri.

        48.     Balke Brown Transwestern’s trade name for multi-family residential services is 2B

Residential.

        49.     2B Residential is a multifamily property manager and owner of over 7,700 rental

units in over 45 apartment communities throughout the Midwest United States.16

        50.     Beginning in 2015, 2B Residential and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for

determining the price of rental leases.17




16
      Balke       Brown    Transwestern    Company   Brochure,    Corporate    Overview     2023     (2023),
https://online.fliphtml5.com/feylm/iooa/#p=2.
17
   Balke Brown Transwestern Selects Yardi RENTmaximizer for Better Service and Clear Results, Business Wire
(March 03, 2015), https://www.businesswire.com/news/home/20150303005003/en/Balke-Brown-Transwestern-
Selects-Yardi-RENTmaximizer-for-Better-Service-and-Clear-Results.

                                                    10
       Case 4:24-cv-00085-CDL            Document 1        Filed 06/07/24       Page 11 of 80




        51.     2B Residential entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

        52.     2B Residential entered into the contract with Yardi knowing that doing so required

it to share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        53.     2B Residential entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        54.     Defendant Banyan Realty Partners LLC d/b/a Banyan Living (“Banyan”) is a New

York limited liability company headquartered in Garden City, New York.

        55.     Banyan is a multifamily property manager and owner of rental units throughout the

United States, primarily in Ohio.18

        56.     Beginning in 2016, Banyan and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.19

        57.     Banyan entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.




18
  https://livebanyan.com/about/ Last Accessed May 2, 2024.
19
   Banyan Living Achieves Rent Growth with Yardi RENTmaximizer, Business Wire (December 13, 2016);
https://www.businesswire.com/news/home/20161213005313/en/Banyan-Living-Achieves-Rent-Growth-with-Yardi-
RENTmaximizer.

                                                   11
       Case 4:24-cv-00085-CDL              Document 1         Filed 06/07/24        Page 12 of 80




        58.     Banyan entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        59.     Banyan entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        60.     Defendant Beztak Management Company (“Beztak”) is a Michigan corporation

headquartered in Farmington Hills, Michigan.

        61.     Beztak is a multifamily property manager and owner of over 38,000 rental units in

apartment communities throughout the United States.20

        62.     Beginning in 2017, Beztak and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.21

        63.     Beztak entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        64.     Beztak entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get




20
  Beztak Properties, Beztak Corporate Brochure (2022), https://beztak.com/beztak-corporate-brochure/.
21
    Beztak Grows Rental Income with Yardi RENTmaximizer, Business Wire (June 16,                        2017),
https://www.businesswire.com/news/home/20170616005099/en/Beztak-Grows-Rental-Income-with-Yardi-
RENTmaximizer.

                                                     12
       Case 4:24-cv-00085-CDL            Document 1         Filed 06/07/24       Page 13 of 80




RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        65.     Beztak entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        66.     Defendant Bridge Property Management, L.C. (“BPM”) is a Utah limited liability

company headquartered in Salt Lake City, Utah.

        67.     BPM is a multifamily property manager and owner of over 60,000 rental units

within 169 apartment communities over 20 states throughout the United States.22

        68.     Beginning in 2015, BPM and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.23

        69.     BPM entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        70.     BPM entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.




22
 https://www.bridgepm.com/whoweare Last Accessed May 2, 2024.
23
 Bridge Property Management Gains 9.4% Year-Over-Year Rental Growth with Yardi RENTmaximizer, Business
Wire (Sept. 29, 2015), https://www.businesswire.com/news/home/20150929005288/en/Bridge-Property-
Management-Gains-9.4-Year-Over-Year-Rental-Growthwith-Yardi-RENTmaximizer.

                                                   13
          Case 4:24-cv-00085-CDL              Document 1            Filed 06/07/24   Page 14 of 80




           71.     BPM entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

           72.     Defendant Calibrate Property Management, LLC (“Calibrate”) is a Washington

limited liability company headquartered in Kirkland, Washington.

           73.     Calibrate is a multifamily property manager and owner of over approximately 1,900

units in four states and is “rapidly growing.”24

           74.     Calibrate and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates utilized Yardi’s RENTmaximizer as part of the process for determining the price of rental

leases.

           75.     Calibrate entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

           76.     Calibrate entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

           77.     Calibrate entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,




24
     https://calibratemanagement.com/; Last Accessed May 2, 2024.

                                                        14
       Case 4:24-cv-00085-CDL            Document 1         Filed 06/07/24       Page 15 of 80




that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        78.     Defendant Dalton Management, Inc. (“Dalton”) is an Oregon corporation

headquartered in Beaverton, Oregon.

        79.     Dalton is a multifamily property manager and owner of 15 apartment complexes

throughout California, Oregon, and Washington.25

        80.     Beginning in 2016, Dalton and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.26

        81.     Dalton entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        82.     Dalton entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        83.     Dalton entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.




25
  https://daltonmngt.com; Last Accessed May 2, 2024.
26
  Dalton Management Reports Increased Revenue Using Yardi RENTmaximizer, Business
Wire (May 19, 2016), https://www.businesswire.com/news/home/20160519005003/en/DaltonManagement-Reports-
Increased-Revenue-Using-Yardi-RENTmaximizer.

                                                   15
          Case 4:24-cv-00085-CDL              Document 1         Filed 06/07/24          Page 16 of 80




           84.     Defendant FPI Management, Inc. (“FPI”) is a California corporation headquartered

in Folsom, California.

           85.     FPI is a multifamily property manager and owner of over 165,000 rental units

throughout 23 states.

           86.     FPI and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates

utilized Yardi’s RENTmaximizer as part of the process for determining the price of rental leases.

           87.     FPI entered into a written contract, paid for, and used RENTmaximizer software to

artificially raise the rental prices of its multifamily residential property leases.

           88.     FPI entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

           89.     FPI entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

           90.     Defendant Grubb Properties, LLC (“Link Apartments”) is a North Carolina limited

liability company headquartered in Cary, North Carolina.

           91.     Grubb Properties, LLC’s trade name is Link Apartments. Link Apartments is a

multifamily property manager and owner of 11 properties in District of Columbia, Georgia, North

Carolina, South Carolina, Tennessee, and Virginia.27



27
     https://www.grubbproperties.com/about-link-apartments, Last Accessed May 2, 2024.

                                                        16
       Case 4:24-cv-00085-CDL             Document 1        Filed 06/07/24       Page 17 of 80




        92.     Beginning in 2015, Grubb and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.28

        93.     Link Apartments entered into a written contract, paid for, and used

RENTmaximizer software to artificially raise the rental prices of its multifamily residential

property leases.

        94.     Link Apartments entered into the contract with Yardi knowing that doing so

required it to share confidential, competitively sensitive pricing and leasing information with Yardi

to get RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and

supply outputs thereby artificially raising the multifamily unit market rents.

        95.     Link Apartments entered into its contract with Defendant Yardi knowing that all

other entities participating in and utilizing Yardi’s software were horizontal competitors that would

also share proprietary data necessary for RENTmaximizer to generate its pricing and supply

outputs, that all participants would delegate their rental price and supply decisions to Yardi, and

that all participants would abide by the pricing and supply outputs generated by Yardi’s

RENTmaximizer.

        96.     Defendant HNN Associates, LLC (“HNN”) is a Washington limited liability

company headquartered in Bellevue, Washington.

        97.     HNN is a multifamily property manager of the 52 properties owned by Devco

Residential Group, LLC in Washington state.29




28
   Grubb Properties Maximizes Pricing, Achieves Longer Lease Terms with Yardi RENTmaximizer, Business Wire
(December 1, 2015); https://www.businesswire.com/news/home/20161213005313/en/Banyan-Living-Achieves-
Rent-Growth-with-Yardi-RENTmaximizer.
29
   https://www.lifeisbetterhere.com/ourproperties.aspx; Last Accessed May 2, 2024.

                                                   17
       Case 4:24-cv-00085-CDL              Document 1         Filed 06/07/24       Page 18 of 80




        98.     Beginning in 2015, HNN and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.30

        99.     HNN entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        100.    HNN entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raise its multifamily unit market rents.

        101.    HNN entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        102.    Defendant KRE Group, Inc. d/b/a Kushner Real Estate Group (“KRE”) is a New

Jersey corporation headquartered in Jersey City, New Jersey.31

        103.    KRE is a multifamily property manager and owner of approximately 22 rental

properties in New Jersey and Pennsylvania. Beginning in 2017, KRE and/or its predecessors,

wholly owned or controlled subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of

the process for determining the price of rental leases.32


30
   HNN Associates, LLC Optimizes Rental Pricing Performance with Yardi RENTmaximizer, Business Wire (February
17, 2015), https://www.businesswire.com/news/home/20150217005101/en/HNN-Associates-LLCOptimizes-Rental-
Pricing-Performance-with-Yardi-RENTmaximizer.
31
   https://thekregroup.com/ Last Accessed May 2, 2024.
32
    KRE Group Grows Profits and Occupancy with Yardi RENTmaximizer, Business Wire (March 14, 2017),
https://www.businesswire.com/news/home/20170314005389/en/KREGroup-Grows-Profits-and-Occupancy-with-
Yardi-RENTmaximizer.

                                                     18
       Case 4:24-cv-00085-CDL            Document 1         Filed 06/07/24       Page 19 of 80




        104.    KRE entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        105.    KRE entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        106.    KRE entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        107.    Defendant LeFever Mattson d/b/a Lefever Mattson Property Management

(“Lefever Mattson”) is a California limited liability company headquartered in Citrus Heights,

California. LeFever Mattson is a multifamily property manager and owner of over 3,000 residential

units throughout the state of California.33

        108.    Beginning in 2017, LeFever Mattson and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for

determining the price of rental leases.34

        109.    Lefever Mattson entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.




33
  https://www.lefevermattson.com/; Last Accessed May 2, 2024.
34
      LeFever    Mattson    Achieves    Success   with    Yardi, Business  Wire    (July   28,   2017),
https://www.businesswire.com/news/home/20170728005004/en/LeFever-Mattson-AchievesSuccess-with-Yardi.

                                                   19
       Case 4:24-cv-00085-CDL             Document 1         Filed 06/07/24        Page 20 of 80




        110.    Lefever Mattson entered into the contract with Yardi knowing that doing so

required it to share confidential, competitively sensitive pricing and leasing information with Yardi

to get RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and

supply outputs thereby artificially raising the multifamily unit market rents.

        111.    LeFever Mattson entered into its contract with Defendant Yardi knowing that all

other entities participating in and utilizing Yardi’s software were horizontal competitors that would

also share proprietary data necessary for RENTmaximizer to generate its pricing and supply

outputs, that all participants would delegate their rental price and supply decisions to Yardi, and

that all participants would abide by the pricing and supply outputs generated by Yardi’s

RENTmaximizer.

        112.    Defendant LumaCorp, Inc. d/b/a Luma Residential (“Luma”) is a Texas corporation

headquartered in Dallas, Texas.35

        113.    Beginning in 2015, Luma and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.36

        114.    Luma entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        115.    Luma entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.


35
  https://lumapm.com/# Last Accessed May 2, 2024.
36
  LumaCorp Inc. Reports Revenue, Marketing and Processing Benefits with Yardi Multifamily Solution Products,
Business Wire (February 15, 2015) https://www.businesswire.com/news/home/20150225005192/en/LumaCorp-Inc.-
Reports-Revenue-Marketing-and-Processing-Benefits-with-Yardi-Multifamily-Solution-Products.

                                                    20
       Case 4:24-cv-00085-CDL             Document 1         Filed 06/07/24       Page 21 of 80




        116.    Luma entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        117.    Defendant Manco Abbott, Inc. (“Manco Abbott”) is a California corporation

headquartered in Fresno, California.

        118.    Manco Abbott is a multifamily property manager of over 30 properties throughout

the state of California.37

        119.    Beginning in 2015, Manco Abbott and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for

determining the price of rental leases.38

        120.    Manco Abbott entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

        121.    Manco Abbott entered into the contract with Yardi knowing that doing so required

it to share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        122.    Manco Abbott entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,


37
 https://mancoabbott.com/about-us/ Last Accessed May 2, 2024.
38
  Manco Abbott Inc. Achieves Rental Growth, Gains Expert Pricing Insight with Yardi RENTmaximizer, Business
Wire (November 10, 2015), https://www.businesswire.com/news/home/20151110005039/en/Manco-Abbott-Inc.-
AchievesRental-Growth-Gains-Expert-Pricing-Insight-with-Yardi-RENTmaximizer.

                                                    21
          Case 4:24-cv-00085-CDL             Document 1         Filed 06/07/24         Page 22 of 80




that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

           123.    Defendant McWhinney Property Management, LLC (“McWhinney”) is a Colorado

limited liability company headquartered in Denver, Colorado.

           124.    McWhinney is a multifamily property manager and owner of approximately 19

properties throughout the states of Colorado and California.39

           125.    Beginning at least in 2021, McWhinney and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for

determining the price of rental leases.

           126.    McWhinney entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

           127.    McWhinney entered into the contract with Yardi knowing that doing so required it

to share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

           128.    McWhinney entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

           129.    Defendant Morguard Management Company Inc. (“Morguard”), is a Louisiana

corporation headquartered in Metairie, Louisiana. Morguard is a multifamily property manager



39
     https://mcwhinney.com/portfolio/?company=multifamily Last Accessed May 2, 2024.

                                                       22
          Case 4:24-cv-00085-CDL              Document 1          Filed 06/07/24        Page 23 of 80




and owner of approximately 19,000 rental units within more than 50 apartment communities

throughout the United States and Canada.

           130.    Beginning in 2015, Morguard and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.40

           131.    Morguard entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

           132.    Morguard entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

           133.    Morguard entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

           134.    Defendant PRG Real Estate Management, Inc. (“PRG”) is a Pennsylvania business

corporation headquartered in Philadelphia, Pennsylvania.

           135.    PRG is a multifamily property manager and owner of over 10,000 rental units

within apartment communities throughout six states.41




40
     See Morguard North American Residential Real Estate Investment Trust, Q4 2015 Earnings Call (Feb. 18, 2016).
41
     https://www.prgrealestate.com/ Last Accessed May 2, 2024.

                                                         23
       Case 4:24-cv-00085-CDL            Document 1         Filed 06/07/24       Page 24 of 80




        136.    Beginning in 2016, PRG and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.42

        137.    PRG entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        138.    PRG entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        139.    PRG entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        140.    Defendant R.D. Merrill Real Estate Holdings, LLC d/b/a Pillar Properties (“Pillar

Properties”) is a Washington limited liability company headquartered in Seattle, Washington.

        141.    Under the registered trade name “Pillar Properties,” R.D. Merrill is a multifamily

property manager and owner of approximately 2,114 units within 10 apartment communities

throughout the state of Washington.43




42
   PRG Real Estate Increase Rental Income with Yardi RENTmaximizer, Business Wire (September 15, 2016),
https://www.businesswire.com/news/home/20160915005085/en/PRG-Real-Estate-Increases-Rental-Income-with-
Yardi-RENTmaximizer.
43
   https://www.pillarproperties.com; Last Accessed May 2, 2024.

                                                   24
        Case 4:24-cv-00085-CDL                Document 1          Filed 06/07/24         Page 25 of 80




        142.     Beginning in 2016, Pillar Properties and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for

determining the price of rental leases.44

        143.     Pillar entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        144.     Pillar entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        145.     Pillar entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        146.     Defendant RAM Partners, LLC (“RAM’) is a Georgia limited liability company

headquartered in Atlanta, Georgia.

        147.     RAM is a multifamily property manager, investor and property owner of over

70,000 apartment communities throughout across 21 United States.

        148.     RAM and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates

utilized Yardi’s RENTmaximizer as part of the process for determining the price of rental leases.




44
   Yardi, Pillar Properties on Elevate, https://www.yardi.com/about-us/successstories/pillar-properties-on-elevate/;
Yardi Systems, Inc., Empowering Our Clients: Pillar Properties & RENTmaximizer (Sept. 21, 2016),
https://www.facebook.com/Yardi/videos/empowering-ourclients-pillar-properties-
rentmaximizer/1219283938135317/.Last Accessed May 2, 2024.

                                                        25
       Case 4:24-cv-00085-CDL            Document 1         Filed 06/07/24       Page 26 of 80




        149.    RAM entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

        150.    RAM entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        151.    RAM entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        152.    Defendant Singh Development Company, LTD. (“Singh”) is a Michigan limited

liability partnership headquartered in West Bloomfield, Michigan.

        153.    Singh is a multifamily property manager and owner of 17 properties throughout

Michigan, North Carolina, and Virginia.45

        154.    Beginning in 2016, Singh and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.46

        155.    Singh entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.




45
 https://www.singhweb.com/about-us Last Accessed May 2, 2024.
46
  Singh management gains Revenue and Occupancy Growth with Yardi RENTmaximizer, Business Wire (February
23, 2016), https://www.businesswire.com/news/home/20160223005007/en/Singh-Management-Gains-Revenue-and-
Occupancy-Growth-with-Yardi-RENTmaximizer.

                                                   26
       Case 4:24-cv-00085-CDL            Document 1        Filed 06/07/24       Page 27 of 80




        156.    Singh entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        157.    Singh entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all

participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        158.    Defendant Summit Management Services, Inc. (“Summit”) is an Ohio corporation

headquartered in Akron, Ohio. Summit is a multifamily property manager and owner of over 4,000

units within 20 apartment communities throughout Colorado, North Carolina, and Ohio.47

        159.    Beginning in 2012, Summit and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.48

        160.    Summit entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

        161.    Summit entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get




47
  https://summitmanagementliving.com/. Last Accessed May 2, 2024.
48
  Yardi RENTmaximizer Gives Summit Management Services Inc. New Rental Pricing
Insight, Business Wire (January 31, 2012),
https://www.businesswire.com/news/home/20120131006159/en/Yardi-RENTmaximizer-GivesSummit-
Management-Services-Inc.-New-Rental-Pricing-Insight.

                                                   27
       Case 4:24-cv-00085-CDL            Document 1        Filed 06/07/24       Page 28 of 80




RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        162.    Summit entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        163.    Defendant Creekwood Property Corporation (“Tonti Properties”) is a Texas

corporation headquartered in Dallas, Texas.

        164.    Creekwood Property Corporation’s trade name is Tonti Properties.

        165.    Tonti Properties is a multifamily property manager and owner of numerous rental

units within 17 apartment communities throughout Arizona, Colorado, Florida, Louisiana, North

Carolina and Texas.

        166.    Beginning in 2016, Tonti Properties and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for

determining the price of rental leases.49

        167.    Tonti Properties entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

        168.    Tonti entered into the contract with Yardi knowing that doing so required it to share

confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.


49
   Tonti Properties Increases Rental Income with Yardi RENTmaximizer, Business Wire (June 14, 2016),
https://www.businesswire.com/news/home/20160614005001/en/.

                                                   28
          Case 4:24-cv-00085-CDL              Document 1            Filed 06/07/24   Page 29 of 80




           169.    Tonti Properties entered into its contract with Defendant Yardi knowing that all

other entities participating in and utilizing Yardi’s software were horizontal competitors that would

also share proprietary data necessary for RENTmaximizer to generate its pricing and supply

outputs, that all participants would delegate their rental price and supply decisions to Yardi, and

that all participants would abide by the pricing and supply outputs generated by Yardi’s

RENTmaximizer.

           170.    Defendant Towne Properties Asset Management Company, LTD. (“Towne”) is an

Ohio domestic for-profit corporation headquartered in Cincinnati, Ohio.

           171.    Towne is a multifamily property manager and owner of more than 12,000 units

within 98 properties throughout Ohio, Kentucky, Indiana, and North Carolina.50

           172.    Beginning in 2020, Towne and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.

           173.    Towne entered into a written contract, paid for, and used RENTmaximizer software

to artificially raise the rental prices of its multifamily residential property leases.

           174.    Towne entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

           175.    Towne entered into its contract with Defendant Yardi knowing that all other entities

participating in and utilizing Yardi’s software were horizontal competitors that would also share

proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs, that all



50
     https://www.towneproperties.com/. Last Accessed May 2, 2024.

                                                        29
       Case 4:24-cv-00085-CDL            Document 1        Filed 06/07/24       Page 30 of 80




participants would delegate their rental price and supply decisions to Yardi, and that all participants

would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        176.    Defendant Tribridge Residential, LLC (“Tribridge”) is a Georgia limited liability

company headquartered in Atlanta, Georgia.

        177.    Tribridge is a multifamily property manager and owner of more 30 properties

throughout Georgia, Tennessee, South Carolina, North Carolina, and Florida.

        178.    Beginning in 2015, Tribridge and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.51

        179.    Tribridge entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

        180.    Tribridge entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        181.    Tribridge entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        182.    Defendant Westdale Asset Management, LTD. (L.P.) (“Westdale”) is a Texas

limited partnership headquartered in Dallas, Texas.


51
   TriBridge Residential opts for Full Yardi Multifamily Solution Stack, Yardi Newsletter (Winter 2015),
https://media.whatcounts.com/sitestuff_yardi/121914_MFeNews/20141111- tribridge.html.

                                                   30
          Case 4:24-cv-00085-CDL             Document 1           Filed 06/07/24   Page 31 of 80




           183.    Westdale is a multifamily property manager and owner of over 100 properties

throughout 20 states Beginning in 2015, Westdale and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for

determining the price of rental leases.

           184.    Westdale entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

           185.    Westdale entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

           186.    Westdale entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

           187.    Defendant 10 Federal MGMT, LLC d/b/a 10 Federal Companies (“10 Federal’) is

a North Carolina limited liability company headquartered in Raleigh, North Carolina.

           188.    10 Federal is a multifamily property manager and owner of several properties

throughout the state of North Carolina.52




52
     https://www.10federalmgmt.com/. Last Accessed May 2, 2024.

                                                       31
       Case 4:24-cv-00085-CDL              Document 1         Filed 06/07/24       Page 32 of 80




        189.    Beginning in 2015, 10 Federal and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates utilized Yardi’s RENTmaximizer as part of the process for determining

the price of rental leases.53

        190.    10 Federal entered into a written contract, paid for, and used RENTmaximizer

software to artificially raise the rental prices of its multifamily residential property leases.

        191.    10 Federal entered into the contract with Yardi knowing that doing so required it to

share confidential, competitively sensitive pricing and leasing information with Yardi to get

RENTmaximizer’s forward-looking, unit specific supra-competitive rental pricing and supply

outputs thereby artificially raising the multifamily unit market rents.

        192.    10 Federal entered into its contract with Defendant Yardi knowing that all other

entities participating in and utilizing Yardi’s software were horizontal competitors that would also

share proprietary data necessary for RENTmaximizer to generate its pricing and supply outputs,

that all participants would delegate their rental price and supply decisions to Yardi, and that all

participants would abide by the pricing and supply outputs generated by Yardi’s RENTmaximizer.

        193.    Fictitious Defendants John Does 1-100 (“John Does”) are those property managers

and/or owners who are Yardi’s clients and have used its Defendant Yardi’s RENTmaximizer

revenue management software in setting prices for their multifamily residential property unit

leases during the class period.

        194.    The true names and capacities, whether individual, corporate, partnership, associate

or otherwise of defendants John Does 1 through 100 are unknown to Plaintiffs, who therefore sue

these defendants by such fictitious names.


53
   10 Federal Increases Rental Income with Yardi RENTmaximizer, Optimizes Investor Reporting with Yardi Orion
Business           Intelligence,         Business         Wire            (July           27,          2015),
https://www.businesswire.com/news/home/20150727005133/en/10-Federal-Increases-Rental-Income-with-Yardi-
RENTmaximizer-Optimizes-Investor-Reporting-with-Yardi-Orion-Business-Intelligence.

                                                     32
       Case 4:24-cv-00085-CDL          Document 1        Filed 06/07/24      Page 33 of 80




       195.    Discovery will reveal the identities of these entities, and Plaintiffs will seek leave

to amend this complaint to allege the true names and capacities of Does 1-100 when they are

ascertained.

       196.    Yardi Client Defendants are some of the largest providers of multifamily housing

in the United States who should be competing one another offers a combination of various price-

related terms including the stated monthly rental price, unit lease up-front discounts, and length-

of-lease discounts, among other incentives and elements to attract renters, make independent

pricing, and supply decisions.

       197.    Defendants’ officers, directors, agents, employees, or representatives engaged in

the conduct alleged in this Complaint in the usual management, direction or control of Defendants’

business or affairs.

       198.    Defendants are also liable for acts done in furtherance of the alleged conspiracy by

companies they acquired through mergers and acquisitions.

       199.    When Plaintiffs refer to a corporate family or companies by a single name in this

Complaint, they are alleging that one or more employees or agents of entities within that corporate

family engaged in conspiratorial acts on behalf of every company in that family.

       200.    The individual participants in the conspiratorial acts did not always know the

corporate affiliation of their counterparts, nor did they distinguish between the entities within a

corporate family.

       201.    The individual participants entered into agreements on behalf of their respective

corporate families.

       202.    As a result, those agents represented the entire corporate family with respect to such

conduct, and the corporate family was party to the agreements that those agents reached.



                                                 33
       Case 4:24-cv-00085-CDL            Document 1       Filed 06/07/24      Page 34 of 80




                                  JURISDICTION AND VENUE

        203.    This Court has subject matter jurisdiction of these claims under 28 U.S.C. §§ 1331

and 1337, as this action arises out of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1) and

Sections 4 and 16 of the Clayton Antitrust Act (15 U.S.C. §§ 15 and 26).

        204.    This Court has supplemental jurisdiction over the state law claims in this action

pursuant to 28 U.S.C. § 1367 because the state law claims form part of the same case or controversy

as those that give rise to the federal claims.

        205.    This Court has personal jurisdiction over the Defendants under Section 12 of the

Clayton Act, 15 U.S.C. § 22.

        206.    This Court has personal jurisdiction over Defendants because they conduct business

in Georgia and have sufficient minimum contacts with Georgia.

        207.    Defendants also advertise and solicit business in Georgia.

        208.    All Defendants either did conduct business within this District or, pursuant to and

in furtherance of the anticompetitive acts alleged herein, participated in a conspiracy whereby their

actions were intended to and did cause damage in this District.

        209.    Defendants, directly or through their divisions, subsidiaries, predecessors, agents,

or affiliates, engage in interstate commerce in the sale of multifamily residential real estate leases

and did have a direct and substantial effect on the interstate commerce of the United States,

including in this District.

        210.    Venue is proper in this District pursuant to Section 12 of the Clayton Act (15 U.S.C.

§ 22) and the federal venue statute (28 U.S.C. § 1391), because one or more Defendants maintain

business facilities, have agents, transact business, and are otherwise found within this District and

certain unlawful acts alleged herein were performed and had effects within this District.



                                                 34
       Case 4:24-cv-00085-CDL            Document 1       Filed 06/07/24       Page 35 of 80




        211.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because

a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this

District: Defendants gain significant revenue and profits from doing business in this District, Class

Members affected by the practices asserted herein reside in this District, and certain Defendants

employ numerous people in this District.

        212.     Each Defendant has transacted business, maintained substantial contacts, and/or

committed overt acts in furtherance of the illegal scheme and conspiracy throughout the United

States, including in this District.

        213.     Defendants’ conduct had the intended and foreseeable effect of causing injury to

persons residing in this District.

        214.     The matter in controversy, exclusive of interest and costs, exceeds the sum or value

of $5,000,000 and is a class action in which there are in excess of 100 class members and many

members of the class are citizens of a state different from Defendants.

                                      FACTUAL ALLEGATIONS

        A. Relevant Market: National Multifamily Residential Leases

        215.     The relevant product market is the market for the lease of multifamily residential

rental properties and the relevant geographic market, which is comprised of relevant submarkets,

is nationwide.

        216.     There are no other close economic substitutes to this product market.

        217.     Short-term rentals are not equivalent to permanent purchasing.

        218.     For example, the purchase of residential property requires the ability to make a

substantial down payment and to obtain financing.




                                                  35
          Case 4:24-cv-00085-CDL                Document 1          Filed 06/07/24         Page 36 of 80




           219.     Furthermore, single family residential properties typically do not offer amenities,

like gym or pool access, or forms of security, like on-site guards.

           220.     For these reasons, residential rental and purchase are two, separate markets and

purchasing is not considered to be a close substitute to the multifamily residential rental property

market even when consumers are met with anticompetitive and inflated pricing.

           221.     Defendant Yardi itself differentiates on their website the multifamily residential

real estate market as a separate and distinct market from other residential markets including, inter

alia, senior living, affordable housing, social housing, student housing, single-family housing,

military housing, and commercial properties.

           B. Historical Pricing and Practices of Multifamily Residential Leases

           222.     As part of their participation in the anticompetitive scheme alleged herein, the Yardi

Client Defendants share sensitive, competitive information, including pricing, in order to receive

the pricing and other competitive information from their would-be competitors; this is a “give to

get” scheme.

           223.     Defendants effectuate their “give to get” scheme through Yardi’s widely used and

expansive property management software known as Yardi Voyager Enterprise Resource Planning

(or “Yardi Voyager”), which allows multifamily property managers in Georgia, and across the

country, to “[c]entralize operational, financial, leasing and maintenance management”54 into a

single, centralized database.55




54
     Yardi, Voyager Residential, https://www.yardi.com/products/yardi-voyager-residential/.
55
     Yardi, Yardi Multifamily Suite (2019), Pg. 26. https://resources.yardi.com/documents/multifamily-suite-brochure/

                                                           36
        Case 4:24-cv-00085-CDL               Document 1          Filed 06/07/24         Page 37 of 80




        224.     Defendant Yardi dominates the property management software industry because of

“widespread adoption of its Voyager software” and the massive costs associated with transferring

data and information Yardi Voyager users would incur if they chose to switch software.56

        225.     As of October 2023, Yardi represented “over 15 million units on its platform,”57

but those numbers are likely far higher today.

        226.     There are approximately thirty different applications, or software modules,

property managers can purchase that are fully integrated with Yardi Voyager.

        227.     One such module is the “revenue management system” called RENTmaximizer.

        228.     In 2011, Defendant Yardi launched a new “revenue management system”

integrated into the Yardi Voyager platform called “RENTmaximizer,”58 which was described as a

dynamic, automated revenue management system built into Yardi products and designed to

optimize revenue59 by automating rental pricing methods for both new and renewal leases.60

        229.     In Defendant Yardi’s own words, the RENTmaximizer algorithm promises to

“[i]ncrease insight with analytics for all components that drive revenue. Machine learning based

on a proprietary feedback loop continuously advances algorithms and makes the system smarter”61

and leverages a built-in proprietary feedback loop to continuously advance algorithms, making the

system smarter.62



56
   Multiple lawsuits filed by rivals for monopolization in the market evidence Yardi’s dominance. See e.g. RealPage
Inc’s Second Amended Counterclaim, at ¶ 26, Yardi Systems, Inc. v. RealPage, Inc., No. CV11-690 ODW (C.D. Cal.
2011); Plaintiff’s First Amended Complaint, ¶ 24, Entrata v. Yardi Systems, 2:15-cv-00102-CW (D. Utah, 2015).
57
   Yardi, Yardi Announces the Elimination of ACH Rent Payment Fees (Oct. 31, 2023),
https://www.yardi.com/news/press-releases/yardi-announces-the-elimination-of-ach-rentpayment-fees/.
58
   See Yardi Adds Two Revenue Management Experts to its Yardi RENTmaximizer Team, Business Wire (June 22,
2011),     https://www.businesswire.com/news/home/20110622006700/en/Yardi-Adds-Two-Revenue-Management-
Experts-to-its-YardiRENTmaximizer-Team.
59
   Yardi, Yardi Multifamily Suite (2019), Pg. 26. https://resources.yardi.com/documents/multifamily-suite-brochure/
60
   Yardi, Yardi Revenue IQ (2021), https://resources.yardi.com/documents/revenue-iq-brochure/.; See Yardi Adds Two
Revenue Management Experts to its Yardi RENTmaximizer Team, Supra Note 62.
61
   Id.
62
   Yardi, Yardi Multifamily Suite (2019), Supra Note 63.

                                                        37
        Case 4:24-cv-00085-CDL            Document 1         Filed 06/07/24       Page 38 of 80




        230.     Yardi’s RENTmaximizer markets to prospective clients including owners of

residential properties, companies that serve as both owners and operators of residential properties,

and property management companies, including large residential rental apartments across the

United States.

        231.     Significantly, Defendant Yardi’s RENTmaximizer markets to prospective clients

who are horizontal market competitors who must compete with one another to attract renters

usually by offering concessions, specials, or otherwise lowering rents.

        C. All Defendants Conspired to Eliminate Competition by Outsourcing Independent
           Pricing and Supply Decisions to RENTmaximizer.

        232.     In a competitive multifamily residential rental market, property owners and

managers are blind to competitors’ pricing strategies, and property management companies must

independently make pricing and supply decisions based on their own assessment of how best to

compete with other properties.63

        233.     Traditionally, property owners and managers acted and priced units independently

by following the policy of physical occupancy.

        234.     Property owners effect strategies to optimize income that are engendered to market

fluctuations and competitive pressures.64

        235.     Maintaining occupancy rates instead of rental prices makes economic sense

because, in a competitive market, every day a unit is left empty is a property owner’s financial

loss.




63
    See Patricia Todoran, Mission Success: Driven by Data, Multi-Housing News (Sept. 6, 2018),
https://www.multihousingnews.com/mission-success-driven-by-data/ (noting how data driven analytics allow
property management companies to keep concessions “very minimal” while keeping rental rates “on the rise.”)
64
    Yardi Matrix, Bulletin, The Rise and Fall of Concessions: Is the Market Resetting? (Jan. 2021),
https://www.YardiMatrix.com/Publications/Download/File/1190-MatrixMultifamilyConcessionsBulletin-
January2021.

                                                    38
           Case 4:24-cv-00085-CDL        Document 1       Filed 06/07/24      Page 39 of 80




           236.   This maximization of “heads in the beds” strategy also minimized turnover

expenses, as there were hard costs associated with finding and evaluating a replacement tenant as

well as lost revenue opportunities if the unit sat vacant between tenants.

           237.   One example of this functioning was during Covid-19 when demand fell and

apartment owners employed strategies including “rolling over leases with no bump in rent and

increasing use of concessions, mainly by offering periods of free rent” to maintain occupancy

rates.65

           238.   Uncertainty from lack of knowledge regarding competitors’ operational details, like

rental unit rates and vacancies within a multifamily rental property, fundamentally results in

market competition between property owners and managers for prospective tenants.

           239.   In a competitive multifamily residential rental market, each property manager sets

its own rental terms and competes for renters based on price.

           240.   To compete, property managers may offer prospective renters incentives,

concessions, and elements, such as a combination of various price-related terms including the

stated monthly rental price, up-front discounts, and length-of-lease discounts.

           241.   Without the ability to coordinate their pricing with competitors, property managers

could not raise their rents above the rates of their competitors because that would result in losing

prospective tenants to competitors.

           242.   In other words, a philosophy of economic occupancy, i.e., increasing rental prices

while accepting the resulting reduction in physical occupancy, results in competitors undercutting

rental prices, or making other concessions, to prospective renters to increase their market share at

the expense of their competitors.



65
     Id.

                                                  39
       Case 4:24-cv-00085-CDL             Document 1         Filed 06/07/24        Page 40 of 80




        243.    By beating out their competitors’ rental prices (or by offering other price-related

concessions), a property owner or manager can increase their occupancy rate, and, thus, their

profits and market share.

        244.    With collusion, however, this price competition is avoided.

        245.    Accordingly, Yardi and the Yardi Client Defendants entered into a collusive pricing

strategy where the Yardi Client Defendants collectively agreed to provide Yardi with sensitive

competitive pricing and supply data, including rental unit rates, lease terms, and occupancy data,

with the understanding that the data would be leveraged by Yardi’s RENTmaximizer to generate

forward looking, unit-specific, supra-competitive rental pricing.

        246.    By participating in Yardi’s “give to get” scheme, the Yardi Client Defendants know

that RENTmaximizer uses their individual, sensitive competitive data to generate its supra-

competitive pricing and supply outputs and that the algorithm’s outputs will be routinely adopted

by themselves and their competitors.

        247.    Defendants effectuate their scheme through Yardi Voyager’s “revenue

management system” tool, RENTmaximizer.

        248.    RENTmaximizer effectively transfers the management of rental pricing from a

landlord to Defendant Yardi.

        249.    RENTmaximizer was Yardi’s attempt to make “automated rental pricing a key

element of the [Yardi] platform.”66 and help “multifamily property managers maximize rental

income” by “increasing a multifamily property owner’s revenue by 3 to 6 percent.”67

        250.    Specifically, RENTmaximizer:


66
   Yardi Adds Two Revenue Management Experts to its Yardi RENTmaximizer Team, Business Wire (June 22, 2011),
https://www.businesswire.com/news/home/20110622006700/en/Yardi-Adds-Two-Revenue-Management-Experts-
to-its-YardiRENTmaximizer-Team.
67
   See Yardi Adds Two Revenue Management Experts to its Yardi RENTmaximizer Team, Supra Note 64.

                                                    40
        Case 4:24-cv-00085-CDL               Document 1          Filed 06/07/24         Page 41 of 80




            helps apartment owners and managers set prices directly from the trends of
            supply, demand and market conditions (i.e., market comparisons). Using pricing
            algorithms, this holistic trends-and-rules-based model helps multifamily
            property managers maximize rental income and occupancy by pricing each new
            and renewal lease for maximum revenue. Yardi RENTmaximizer also provides
            complete transparency into how the price was determined to further facilitate the
            leasing process.68

        251.     Yardi offers to “manage pricing” and “automate the rental pricing process” for its

clients using Yardi’s RENTmaximizer, allowing clients to “eliminate rent rate guesswork and

traditional sales devices such as concessions and specials.”69

        252.     Since its inception, the purpose of RENTmaximizer was to, in effect, delegate the

multifamily residential unit rental pricing decision making process from property managers,

including the Yardi Client Defendants, to Yardi, once competitively sensitive information had

been shared, compiled, and evaluated for pricing increase opportunities.

        253.     That is, RENTmaximizer was intended to eliminate the traditional methods of

competition, such as rent concessions and other specials property managers offered to prospective

tenants in a competitive market, by fully automating pricing and supply decisions to the

RENTmaximizer algorithm.

        254.     Indeed, according to Yardi, this was one of the “key benefits”70 of

RENTmaximizer: “[b]y automating rental pricing that factors in portfolio and market data,



68
   Id.
69
   See HNN Associates, LLC Optimizes Rental Pricing Performance with Yardi RENTmaximizer, Business Wire (Feb.
17,     2015),    https://www.businesswire.com/news/home/20150217005101/en/HNN-Associates-LLC-Optimizes-
Rental-Pricing-Performance-with-Yardi-RENTmaximizer. (“RENTmaximizer has taken the guesswork out of our
rental pricing and lease terms, and boosts pricing performance through an intelligent system of measurements, fixed
factors, and discipline.”); Supra Note 27; (“Yardi RENTmaximizer helps clients drive revenue with clear,
comprehensive metrics focusing on operational components including rental income, concessions, occupancy and
rental rates — not just pricing.”); BSR Trust LLC Increases Rental Income with Yardi RENTmaximizer, Business Wire
(July 19, 2023), https://www.businesswire.com/news/home/20120719006370/en/BSR-Trust-LLCIncreases-Rental-
Income-with-Yardi-RENTmaximizer.(“RENTmaximizer “improved business performance” by, among other things,
“eliminating concessions”).
70
   Supra note 60, (explaining that one “Key Benefit” of RENTmaximizer is that the algorithm “[a]utomates consistent
decisions and improves compliance[.]”).

                                                        41
       Case 4:24-cv-00085-CDL             Document 1         Filed 06/07/24        Page 42 of 80




RENTmaximizer not only improves rental income while maintaining occupancy, but it also

simplifies the process by eliminating rent rate guesswork and traditional sales devices such as

concessions and specials.”71

        255.    To achieve these promises, Yardi’s clients must allow Yardi to use their

competitively sensitive pricing and supply data in its RENTmaximizer algorithms, both to set each

client’s own rent prices (and consequently, to set rent prices of each Yardi Client Defendants’

horizontal competitors).72

        256.    RENTmaximizer specifically asks Yardi Client Defendants to record their sensitive

and competitive data, such as rental rates, unit types and current occupancy status, for

RENTmaximizer’s dataset.

        257.    Meanwhile, the system automatically incorporates market-specific information on

“comparative rent” and metrics on “markets, submarkets, competition, developments, rents,

occupancy and more” to give users “complete visibility” to the market, submarket, and

competition.”73

        258.    RENTmaximizer’s rental pricing algorithm calculates a “rent recommendation” by

leveraging data gathered from RENTmaximizer users, as well as comparative rent, that users are

compelled to automatically adopt.74




71
    See The Rockbridge Group Increases Rent Revenue with Yardi RENTmaximizer, Business Wire (June 21, 2016)
https://www.businesswire.com/news/home/20160621005024/en/Rockbridge-Group-IncreasesRent-Revenue-Yardi-
RENTmaximizer.
72
   See BSR Trust LLC Increases Rental Income with Yardi RENTmaximizer, Business Wire (July19, 2023),
https://www.businesswire.com/news/home/20120719006370/en/BSR-Trust-LLCIncreases-Rental-Income-with-
Yardi- RENTmaximizer (“all [property managers] have to do is enter some market study data…and RENTmaximizer
does the rest.”).
73
     Yardi, Yardi Elevate Multifamily Suite (2019), https://resources.yardi.com/documents/elevate-suite-for-
multifamily-brochure/;Yardi, Yardi Elevate (2020), https://resources.yardi.com/documents/elevate-suite-for-
multifamily-brochure/.
74
    See Towne Properties Yardi Manual, supra note 55.

                                                    42
        Case 4:24-cv-00085-CDL                Document 1           Filed 06/07/24         Page 43 of 80




         259.     Per Yardi, the algorithm “empowers leasing staff to close more high-value leases

and raise in-place rents” and beat the market to gain maximum rental income/revenue, while

improving occupancy and reducing turnover costs.75

         260.     Yardi’s pricing strategy, using the RENTmaximizer algorithm tool to set the Yardi

Client Defendants’ rental prices for multifamily rental units they facilitate, increases prices

regardless of market conditions and allows the Yardi Client Defendants to de-prioritize

competitive market measures like maintaining traditional occupancy rates.76

         261.     By using Yardi’s RENTmaximizer tool, each Yardi Client Defendant purposefully

chooses to share their competitive data because the Yardi Client Defendants understand that

sharing their confidential pricing and occupancy data with Defendant Yardi is mutually beneficial.

         262.     In each agreement with Yardi, each of the Yardi Client Defendants agree to provide

Yardi with their competitively sensitive pricing and occupancy data, incorporating the granular

details of the most competitively sensitive and proprietary information about the each of their

multifamily property and rental units, such as “rental income, concessions, occupancy and rental

rates.”77

         263.     Yardi’s agreements with the Yardi Client Defendants supplant the competition that

would have reduced prices for renters with price raising collusion.

         264.     Yardi Client Defendants provide Yardi with this critical information that is

necessary to successfully maximize the rent of each multifamily rental, thus emboldening


75
     Supra note 78; Yardi, Revenue Grows on Yardi: RENTmaximizer (video), (June 19, 2017),
https://www.facebook.com/Yardi/videos/revenue-grows-on-yardi-rentmaximizer/1501017369961971/.Last
Accessed May 7, 2024.
76
   See Leah Etling, Revolutionary Revenue: Market Data Insight (Aug. 27, 2014), The Balance Sheet: Yardi Corporate
Blog,
https://web.archive.org/web/20140908043659/https:/www.yardi.com/blog/news/revolutionaryrevenue/11339.html
(“...apartments are typically run with extremely high occupancy rates. It may require a change in mentality, but there
are some real opportunities to realize rent gains with the use of a revenue management solution,”).
77
   Yardi, Yardi Revenue IQ (2021), https://resources.yardi.com/documents/revenue-iq-brochure/.

                                                         43
       Case 4:24-cv-00085-CDL             Document 1         Filed 06/07/24        Page 44 of 80




Defendants to “push rents without sacrificing occupancy, [and] eliminate the fear factor of

exposure.”78

        D. Yardi Enters Comprehensive Data from A Yardi Client Defendant In “Yardi
           Matrix” Dataset --- Yardi Matrix Then Feeds Collective Yardi Client Data into
           RENTmaximizer

        265.    Yardi Client Defendants’ data is recorded in Yardi Matrix, a subscriber-access

commercial real estate intelligence source also operated by Yardi that “offers the industry’s most

comprehensive market intelligence;” Yardi Matrix collects data from Defendants and other

multifamily operators related to rental prices at multifamily properties across the entire nation79

and provides users with various types of data about properties in certain markets, including rent

and occupancy data.80

        266.    Defendant Yardi explains that Yardi Matrix:

                 Provides critical data to the professional property manager. Our
                comprehensive property-level data makes it easy to benchmark property
                performance, canvas competitors and neighborhoods and find new
                contracts. Gain a valuable understanding of the nature and performance of
                any portfolio of properties, using our powerful set of research and
                comparative market analysis tools.81

        267.    Yardi’s database is centrally valuable and the cornerstone of its client business82

because the engine driving Yardi’s business is comparative analysis to the market, submarket, and

competition using competitor pricing data.83




78
   See Supra Note 22; 74.
79
   Yardi Matrix Multifamily, supra note 63.
80
   Yardi, Yardi Matrix, https://www.yardimatrix.com/.
81
   Yardi, Yardi Matrix: Real Estate Data & Comparative Analysis Tools, https://www.yardimatrix.com/Property-
Types/Solutions/Management-Portfolio-Health.
82
     Yardi Elevate Multifamily Suite, supra note 78; Yardi, Multifamily Market Data and Analysis,
https://www.YardiMatrix.com/PropertyTypes/Multifamily.
83
   Id.

                                                    44
        Case 4:24-cv-00085-CDL                Document 1           Filed 06/07/24         Page 45 of 80




         268.     Yardi further represents that its database is the “largest and deepest refined database

in the industry,”84 leveraging “the most comprehensive apartment (>50 units) market data source

covering 19+ million units, encompassing 90% of the U.S. Population.”85

         269.     Yardi Matrix’s “apartment information service” is particularly described as “a high-

performance system with the sole function of supporting the commercial apartment industry’s

dominant participants.”86

         270.     The Yardi Client Defendant’s collective competitively sensitive unit pricing and

supply data is maintained in Yardi’s Matrix database that is so comprehensive that Yardi can

generate a near real-time Unit Pricing Report (“UPR”) recommending unit pricing in a Multi-

Family Market for any unit type at any time based on competitor pricing.87

         271.     In fact, the Yardi Matrix Database is so detailed, and the resulting Yardi Database

pricing recommendation so sensitive to movements in a particular Multi-family Housing Market,

that the UPR “is only valid for the current day (until midnight) not twenty-four (24) hours.”88

         272.     Yardi Matrix significantly contributes extensive, granular market pricing data

collected by Yardi Matrix’s “apartment information services” from multiple “rent surveys”

conducted annually.89




84
   Yardi, How We Compare, https://www.Yardi Matrix.com/About-Us/How-We-Compare.
85
   Yardi Matric Multifamily, Supra Note 63.
86
   Yardi, Yardi Matrix Rent Survey, https://yardirentsurvey.wordpress.com/.(emphasis added).
87
   See Towne Properties Yardi Manual, Supra Note 55; See also Yardi Systems, Inc., Yardi Elevate (2020),
https://resources.yardi.com/ documents/elevate-suite-for-multifamily-brochure/; Beztak Grows Rental Income with
Yardi            RENTmaximizer,              Business             Wire           (June            16,           2017),
https://www.businesswire.com/news/home/20170616005099/en/Beztak-Grows-Rental-Income-with-Yardi-
RENTmaximizer.
88
   See Towne Properties Yardi Manual, Supra Note 55.
89
   Id.; Yardi Matrix, Matrix- Fact Sheet, https://www.Yardi Matrix.com/About-Us/Press-Kit/Factsheet, (“We are
active in 177 Multifamily markets across the U.S., providing researched data on properties at least 50 units in size
including exclusive data on single-family rentals in build-to-rent communities.”); see also “Yardi Matric: Real Estate
Analysis Made Quick and Simple,” PropTechOutlook https://www.proptechoutlook.com/

                                                         45
        Case 4:24-cv-00085-CDL               Document 1          Filed 06/07/24        Page 46 of 80




        273.     Rent Surveys collect critical multifamily market pricing data at two levels: the

individual property or overview of market conditions critical to the assessment of current, and

prospective, market status” including property unit breakdowns, sales and loan history, occupancy

history, rental rate history for tens of thousands of properties.90

        274.     Upon information and belief, as part of the rent survey, Yardi employees,

masquerading as potential renters, call competitor apartment communities to collect information

about rents and current rent specials.91

        275.     Yardi uses Yardi Matrix’s combined information for RENTmaximizer analysis,

stating that asking rent adjustments in RENTmaximizer are based, in part, on “public information

collected through surveys.”92

        276.     Yardi Client Defendants also provide information to Yardi Matrix with the

understanding that, in part, they will receive pricing recommendations from RENTmaximizer that

are based on this extensive Yardi Matrix data.

        277.     Yardi Client Defendants contractually agree to share pricing and occupancy data

with Yardi and understand that aggregated data from Yardi Matrix is used as part of

RENTmaximizer.93



90
   Yardi, Yardi Matrix Rent Survey, https://yardirentsurvey.wordpress.com/.;Yardi, Multifamily Market Data and
Analysis, https://www.Yardi Matrix.com/PropertyTypes/Multifamily.; Yardi, How We Compare, https://www.Yardi
Matrix.com/About-Us/How-We-Compare.
91
    Yardi Matrix, how we Report Rental Market Conditions, https://www.Yardi Matrix.com/About-Us/Our-
Methods/How-We-Report-Rental-Market-Conditions; Yardi Matrix, how we Survey Rental Market Conditions
https://www.Yardi          Matrix.com/About-Us/Our-Methods/How-We-Report-Rental-Market-Conditions/How-We
Survey-Rental-Concessions See “Yardi Matric: Real Estate Analysis Made Quick and Simple,” PropTechOutlook,
https://www.proptechoutlook.com/yardi-matrix. (“all the information in Yardi Matrix’s database is continuously
updated, curated, and cleansed to reflect the latest conditions of the properties. In case any data needs further
verification, the experts at Yardi Matrix manually collect the additional information regarding the properties and
update it in their database.”); See Yardi Matrix “Press Kit- FAQs”, https://www.Yardi Matrix.com/About-Us/Press-
Kit/FAQs.
92
   Yardi, Yardi Matrix (2021), Yardi RENTmaximizer Comparable; Yardi RENTmaximizer Property Ratings:
Improvement and Location Rating System.
93
   Yardi, Revenue IQ, https://www.yardielevate.com/multifamily/revenue-iq/.

                                                       46
          Case 4:24-cv-00085-CDL           Document 1         Filed 06/07/24       Page 47 of 80




          E. Yardi’s Revenue Managers Preserve Conspiracy by Managing Client Pricing

          278.   Defendant Towne’s Yardi user manual reveals how simple and limited inputs are

for RENTmaximizer pricing determinations in order to automatically set prices for a unit: a

property manager merely inputs a specific move-in time frame and lease term into the

RENTmaximizer system, then RENTmaximizer will populate the “best price” for that selected

unit.94

          279.   Yardi prices each of the Yardi Client Defendants’ leases using the broad array of

competitively sensitive pricing data provided by the would-be competitors—data that is not

available to any individual Landlord: “Leases are priced by the system daily, which allows for fast

adjustment to market conditions and changes in your inventory and traffic, while adjusting for cost

constraints such as vacancy loss, turnover costs, inventory hold days and lease expiration

management.”95

          280.   Indeed, Yardi boasts that it will adjust pricing daily “based on market conditions

and your inventory” and provide “daily management reports to understand pricing changes based

on availability, demand and competition.”96

          281.   Yardi also touts that each RENTmaximizer client “enjoy[s] greater confidence that

you are delivering the best possible rental prices,”97 which, according to the Yardi Client


94
   See Supra Note 55.
95
   Yardi, Yardi Revenue IQ (2021), https://resources.yardi.com/documents/revenue-iq-brochure/.
96
    Id.; Yardi, Yardi Revenue IQ (2021), https://resources.yardi.com/documents/revenue-iq-brochure/.; DEELS
Properties    Gets    Results   with      Yardi    RENTmaximizer,      Business    Wire     (Feb. 26,  2018),
https://www.businesswire.com/news/home/20180226005236/en/DEELS-PropertiesGets-Results-with-Yardi-
RENTmaximizer; Yardi, Yardi RENTmaximizer Market Analysis: 2013 Performance Results, The Balance Sheet:
Yardi                 Corporate                  Blog               (Mar.                1,            2015),
https://web.archive.org/web/20210302115856/https://www.yardi.com/blog/uncategorized/yardirentmaximizer-
market-analysis/12670.html; See Yardi Adds Two Revenue Management Experts to its Yardi RENTmaximizer Team,
Business Wire (June 22, 2011), https://www.businesswire.com/news/home/20110622006700/en/Yardi-Adds-Two-
Revenue-Management-Experts-to-its-YardiRENTmaximizer-Team.
97
     Yardi, Yardi Elevate Multifamily Suite (2019), https://resources.yardi.com/documents/elevate-suite-for-
multifamily-brochure/; Yardi, Yardi Revenue IQ (2021), https://resources.yardi.com/documents/revenue-iq-
brochure/.

                                                     47
       Case 4:24-cv-00085-CDL           Document 1        Filed 06/07/24    Page 48 of 80




Defendants, is the rental prices set at the maximum, without pricing concessions, that a certain

market can tolerate, not the most competitive price.

       282.    Yardi notes that its pricing algorithm generates rents that “maximize rental income”

for users, including Yardi Client Defendants,98 and that its process is “transparent” to property

managers so that “they can understand what factors are influencing pricing.”99

       283.    Other Yardi promotional materials also emphasize the extent to which Yardi gives

its clients access and insight into competitor data.100

       284.    But transparency in understanding how pricing is determined and confidence in a

price Yardi generates for a Yardi Client Defendant does not equal absolute control over property

pricing.

       285.    Control over Yardi Client Defendants’ property pricing remains with Yardi.101

       286.    Upon information and belief, Yardi builds strict lock downs and permission

structures into RENTmaximizer which virtually eliminate client overrides of the rental prices and

lease lengths generated by Yardi’s RENTmaximizer to ensure conformity and compliance with

Yardi’s pricing strategy.

       287.    And, while those barriers to overriding can vary at the margins for individuals and

their property managers, RENTmaximizer’s lock downs and permission structures are functionally

the same for every Yardi Client Defendant.




98
     DEELS Properties Gets Results with Yardi RENTmaximizer, Business Wire (Feb. 26, 2018),
https://www.businesswire.com/news/home/20180226005236/en/DEELS-PropertiesGets-Results-with-Yardi-
RENTmaximizer.
99
   Id.
100
     See Beztak Grows Rental Income with Yardi RENTmaximizer, Business Wire (June 16, 2017),
https://www.businesswire.com/news/home/20170616005099/en/Beztak-Grows-Rental-Income-with-Yardi-
RENTmaximizer
101
    See Supra Note 55.

                                                  48
          Case 4:24-cv-00085-CDL            Document 1         Filed 06/07/24        Page 49 of 80




          288.   Yardi Client Defendants know and understand that they each are bound by

substantively and operationally the same lock downs and permission structures that thwart

competitor overrides, the effect of which is the uniform adoption of RENTmaximizer’s “best”

prices.

          289.   Multiple statements and supporting documents made by both Yardi and the Yardi

Client Defendants indicate “property pricing is controlled by” RENTmaximizer unless overridden

by Yardi Defendant Client action.102

          290.   For example, President Brantly White of Ardmore Residential, a multifamily

housing operator located in North Carolina and RENTmaximizer client, stated in a 2016 Yardi

press release that Ardmore was able to raise rents 5-6% since its implementation of Yardi

RENTmaximizer in 2016.




102
   See BSR Trust LLC Increases Rental Income with Yardi RENTmaximizer, Business Wire (July
19,     2023),     https://www.businesswire.com/news/home/20120719006370/en/BSR-Trust-LLCIncreases-Rental-
Income-with-Yardi-RENTmaximizer. (“all [property managers] have to do is enter some market study data every
month, and RENTmaximizer does the rest.”); The Rockbridge Group Increases Rent Revenue with Yardi
RENTmaximizer,                 Business                Wire               (June         21,              2016)
https://www.businesswire.com/news/home/20160621005024/en/Rockbridge-Group-IncreasesRent-Revenue-Yardi-
RENTmaximizer (“Rockbridge’s adoption of RENTmaximizer allowed it to “take the guesswork out of pricing” and
“eliminate[] all concessions and specials.”); Yardi RENTmaximizer Gives Summit Management Services Inc. New
Rental           Pricing         Insight,          Business          Wire       (Jan.       31,         2012),
https://www.businesswire.com/news/home/20120131006159/en/Yardi-RENTmaximizer-Gives-Summit-
Management-Services-Inc.-NewRental-Pricing-Insight. (“RENTmaximizer’s automated pricing matrix has allowed
us to eliminate concessions.”); McCaffery Interests Leverages Yardi’s Single-Platform Approach for Efficient
Property
Management, FM Link (Feb. 5, 2015), https://www.fmlink.com/articles/mccaffery-interestsleverages-yardis-single-
platform-approach-for-efficient-property-management/. (“… boosted by Yardi RENTmaximizer, which automates
the process of calculating best rents.”); HNN Associates, LLC Optimizes Rental Pricing Performance with Yardi
RENTmaximizer, Business Wire (Feb. 17, 2015), https://www.businesswire.com/news/home/20150217005101/
en/HNN-Associates-LLC-Optimizes-Rental-Pricing-Performance-with-Yardi-RENTmaximizer(“RENTmaximizer
has taken the guesswork out of our rental pricing and lease terms, and boosts pricing performance through an
intelligent system of measurements, fixed factors and discipline.”).

                                                      49
        Case 4:24-cv-00085-CDL                Document 1           Filed 06/07/24         Page 50 of 80




         291.     White explained that “RENTmaximizer has allowed us to push rents more

aggressively and takes more human error out of the process,”103 and openly acknowledged that

“[w]e simply wouldn’t have raised rents that much or that quickly on our own.”104

         292.     Upon information and belief, to additionally ensure the Yardi Client Defendants

adopt the RENTmaximizer prices controlled by Yardi, Yardi Client Defendants are assigned a

“Revenue Manager” by Yardi.

         293.     Revenue Managers are Yardi employees who meet with and monitor their assigned

Yardi client for conformance with pricing recommendations.105

         294.     The “experienced revenue manager” Yardi provides to the Yardi Client Defendants

“help manage pricing” on Yardi Client Defendants’ units and assist Yardi Client Defendants in

“control[ling] pricing at the property level.” 106

         295.     Upon information and belief, Yardi also uses Revenue Managers to enforce

compliance with the algorithm.




103
     Ardmore Residential Raises Rents 5-6% with Yardi RENTmaximizer, Business Wire (Apr. 21, 2016),
https://www.businesswire.com/news/home/20160421005001/en/ArdmoreResidential-Raises-Rents-5-6-with-Yardi-
RENTmaximizer.
104
    Id.
105
    See Yardi, Yardi Multifamily Suite (2019), https://resources.yardi.com/documents/elevate-suite-for-multifamily-
brochure/; Noam Hameiri, Pricing That Wins – Interview, LinkedIn (June 29, 2018),
https://www.linkedin.com/pulse/pricing-wins-interview-noam-hameiri-mba/ (“the extensive reporting and the weekly
phone call with our dedicated RENTmaximizer expert are some of the best parts of the system.”); Manco Abbott Inc.
Achieves Rental Growth, Gains Expert Pricing Insight with Yardi RENTmaximizer, Business Wire (November 10,
2015),          https://www.businesswire.com/news/home/20151110005039/en/Manco-Abbott-Inc.-AchievesRental-
Growth-Gains-Expert-Pricing-Insight-with-Yardi-RENTmaximizer (“[h]aving a dedicated revenue manager working
with us from the Yardi RENTmaximizer team is a huge benefit. If our staff or property owners’ question any of our
rates, we have our Yardi RENTmaximizer expert who can dig deeper to support our pricing — and that gives our
organization and clients great confidence.”); see Yardi, The RENTmaximizer Pricing System: Establishing an
Automated                  Pricing                 System                 (Mar.               1,                2015),
https://web.archive.org/web/20210302112741/https://www.yardi.com/blog/uncategorized/therentmaximizer-pricing-
system/12666.html.
106
    Id.; Yardi, Yardi Revenue IQ (2021), https://resources.yardi.com/documents/revenue-iq-brochure.; Yardi, Yardi
Elevate (2020), https://resources.yardi.com/documents/elevate-suite-for-multifamily-brochure/ (“[revenue managers]
works closely with individual lessors to hone their usage of RENTmaximizer by “get[ting] to know your business
processes, assets, and goals to provide superior support and . . . work[ing] with you to maximize your returns.”).

                                                         50
       Case 4:24-cv-00085-CDL          Document 1       Filed 06/07/24      Page 51 of 80




       296.    Revenue Managers are directed to monitor all pricing “exceptions” requested by

Yardi Client Defendants and use “exceptions reports” to hold Yardi Client Defendants to

RENTmaximizer’s pricing and supply outputs.

       297.    As such, especially for new leases, Yardi Client Defendants almost never override

RENTmaximizer’s forward looking, unit specific supra-competitive pricing and supply outputs.

       298.    Despite Yardi insisting their generated pricing for the Yardi Client Defendants are

recommendations, Defendant Yardi’s aggressive campaign to ensure Yardi Client Defendants

conform to Yardi’s recommendations without exception disprove the notion.

       299.    Yardi designed the RENTmaximizer so that Yardi Client Defendants never need to

communicate directly with one another to coordinate their pricing.

       300.    Although the Yardi Client Defendants do not directly share their pricing strategies

with one-another, they all know that they share confidential rental information with Yardi and that

their competitively sensitive data is then used by Yardi’s RENTmaximizer to generate forward-

looking, unit specific supra-competitive pricing and supply outputs to increase industry wide

profits on the backs of renters.

       301.    Yardi Client Defendants need only accept the algorithmically generated, forward-

looking, unit specific, supra-competitive rental price and supply outputs knowing that all other

Yardi Client Defendants will do the same because of Yardi’s system wide lock downs, overriding

restrictions and permission structures, and the oversight of Yardi’s Revenue Managers.

       302.    The Yardi Client Defendants enter into agreements with Yardi for the use of

RENTmaximizer not only aware of the sharing of sensitive information and of Yardi’s pricing

mechanisms, but because of these promises from Yardi.




                                                51
           Case 4:24-cv-00085-CDL              Document 1          Filed 06/07/24        Page 52 of 80




           303.     The purpose of utilizing Yardi’s RENTmaximizer is to raise prices above what a

functioning competitive market would support.

           304.     Thus, Yardi Client Defendants each agreed to use RENTmaximizer for their rental

pricing and supply decisions with the understanding that they all agreed to do the same.

           305.     In   furtherance     of    and    demonstration      of    their   knowing      participation,

RENTmaximizer tracks every requested override and generates an “exceptions report.”

           306.     If the “exceptions report” for a particular Yardi Client Defendant shows repeated

overrides, the dedicated Revenue Manager assigned by Yardi will use the report in their weekly

call to explain the resulting loss of economic occupancy.

           307.     In other words, the Yardi Revenue Managers use the “exceptions reports” as

surveillance to hold Yardi Client Defendants accountable to the pricing and supply outputs

generated by Yardi’s RENTmaximizer.

           308.     In this way, the Revenue Managers work in tandem with the override controls

imbedded into RENTmaximizer.

           309.     Not only do Yardi Client Defendants pay premium prices to use RENTmaximizer’s

algorithmic pricing output to “beat the market,” but Yardi’s system and the Revenue Managers

assigned by Yardi also actively monitors lessor overrides with the ultimate result of ensuring

pricing compliance.

           310.     Yardi also offers continuous training to RENTmaximizer clients for use and

operation of the Yardi product suite and specifically the RENTmaximizer tool, ensuring proper

oversight of the automated process.107




107
      Yardi, Yardi Revenue IQ (2021), https://resources.yardi.com/documents/revenue-iq-brochure/.

                                                          52
       Case 4:24-cv-00085-CDL               Document 1         Filed 06/07/24         Page 53 of 80




        311.     However, Yardi discourages other Yardi clients to understand how the automation

technology works:

            we do not believe it is an efficient use of a person’s time to be trained or to have
            to keep up to date with the technical nuances and options the technology uses
            to convert the strategic vision into actual pricing action. That is why Yardi
            supplies a technical specialist who is well-versed in pricing engine technology.
            We feel that our clients’ time is more valuable in making sure the overall pricing
            activity supports the company’s business objectives.108

        312.     Moreover, Yardi has indirectly affirmed it maintains control over pricing as part of

its pricing strategy: “One of the fundamental design elements of the Yardi RENTmaximizer™

revenue management system is to remove the need for human intervention wherever possible. The

revenue manager support team has many configuration options at its disposal in order to establish

a performance level that meets the strategic objectives for pricing your property.”109

        F. Higher Prices for RENTmaximizer Users Confirm Using Defendant Yardi’s
           Products Yield Anticompetitive Effects

        313.     Following RENTmaximizer’s entry, Yardi Client Defendants swiftly, and

concertedly, shifted from the previous competitive market share over price strategy to a new

collusive price over volume strategy.

        314.     A price over volume strategy is a hallmark of pricing in a cartelized market.

        315.     Yardi, and Yardi Client Defendants, with their use of RENTmaximizer, have

adopted a philosophy of embracing economic occupancy, that is, increasing prices notwithstanding




108
    “The RENTmaximizer Pricing System- Establishing an Automated Pricing System.” The Balance Sheet – Yardi
Corporate                     Blog,                     March                      15,                     2015.
https://web.archive.org/web/20210302112741/https://www.yardi.com/blog/uncategorized/the-rentmaximizer-
pricing-system/12666.html ).
109
    Yardi, The RENTmaximizer Pricing System- Establishing an Automated Pricing System, The Balance Sheet – Yardi
Corporate                     Blog,                     March                      15,                     2015.
https://web.archive.org/web/20210302112741/https://www.yardi.com/blog/uncategorized/the-rentmaximizer-
pricing-system/12666.html.

                                                      53
       Case 4:24-cv-00085-CDL              Document 1         Filed 06/07/24       Page 54 of 80




market conditions and tolerating any reduction in physical occupancy those increases might

engender.

        316.    Upon information and belief, each Yardi Client Defendant implemented significant

rental prices increases after beginning their usage of RENTmaximizer.

        317.    In fact, Yardi employees have broadcasted RENTmaximizer’s unique success in

raising rents in certain “markets in which a significant number of properties use Yardi

RENTmaximizer.”110

        318.    In May 2014, Yardi analyzed properties on RENTmaximizer from the end of 2012

through April 2014 and compared the aggregate performance of this “same store sales” population

against the market.

        319.    Yardi’s analysis found that “[a]t the end of April 2014, RENTmaximizer properties

saw rental rates over 2% above the market” even including “properties using other revenue

management software,” with “[t]he markets [growing] at a combined rate of 3.9%, while

RENTmaximizer properties outperformed the market and grew at nearly 6%”.111

        320.    Yardi also performed a separate analysis “for some markets in which a significant

number of properties use Yardi RENTmaximizer” and found substantial above market gains in

many of these:112




110
    Yardi, Yardi RENTmaximizer Market Analysis: 2013 Performance Results, The Balance Sheet: Yardi Corporate
Blog                               (Mar.                              1,                               2015),
https://web.archive.org/web/20210302115856/https://www.yardi.com/blog/uncategorized/yardirentmaximizer-
market-analysis/12670.html.
111
    Id.
112
    Yardi, Yardi RENTmaximizer Market Analysis: 2013 Performance Results, The Balance Sheet: Yardi Corporate
Blog                               (Mar.                              1,                               2015),
https://web.archive.org/web/20210302115856/https://www.yardi.com/blog/uncategorized/yardirentmaximizer-
market-analysis/12670.html.

                                                     54
       Case 4:24-cv-00085-CDL              Document 1         Filed 06/07/24       Page 55 of 80




                a. Denver saw a market rental growth of 9.8%, while the RENTmaximizer

                    properties grew by almost 13.5% and RENTmaximizer customers exceeded the

                    market by almost 3.7%.

                b. Similarly, the Houston market grew by 8% overall, while RENTmaximizer

                    properties produced 14%—a 6% advantage for RENTmaximizer customers.

                c. Comparatively, the market in Orange County, California saw 4.05% growth

                    while RENTmaximizer properties grew by 4.37%.

        321.    Yardi explained these results likely exceeded the competition only slightly because

“many more properties in this market use other revenue management systems,” but noted even this

small increase above market using RENTmaximizer created a significant income difference.113

        322.    Yardi concluded that the analysis delivered “significant statistical proof that

RENTmaximizer produces consistently better results than the market, and our customers tell us

that we provide the best support in the industry . . . Yardi RENTmaximizer delivers better results,

better service, and complete visibility into the ‘health’ of your property performance and how it

drives your pricing results:”114

        323.    Besides, abundant Yardi Client Defendants have openly acclaimed Yardi allowed

them to raise rental rates, eliminate discounts, and “remove uncertainty and fear” otherwise

understood as competition from the pricing process.115

        G. Defendants’ Price-Fixing Scheme Also Harmed Consumers in Other Lease Terms


113
    Yardi, Yardi RENTmaximizer Market Analysis: 2013 Performance Results, The Balance
Sheet: Yardi Corporate Blog (Mar. 1, 2015),
https://web.archive.org/web/20210302115856/https://www.yardi.com/blog/uncategorized/yardirentmaximizer-
market-analysis/12670.html.
114
    Yardi, Yardi RENTmaximizer Market Analysis: 2013 Performance Results, The Balance
Sheet: Yardi Corporate Blog (Mar. 1, 2015),
https://web.archive.org/web/20210302115856/https://www.yardi.com/blog/uncategorized/yardirentmaximizer-
market-analysis/12670.html.
115
    i.e.¶118; Supra, Note73.

                                                     55
        Case 4:24-cv-00085-CDL                Document 1           Filed 06/07/24         Page 56 of 80




         324.     The collusion between Yardi and the Yardi Client Defendants harms consumers

beyond rental unit pricing rates: Yardi-based price collusion has made short-term leases ubiquitous

in Apartment Markets around the country.

         325.     Short-term leases are more profitable for Landlords, and the certainty that Yardi’s

pricing “transparency” brings to Yardi Client Defendants makes long term leases gratuitous

because unlike in a competitive market, Yardi Client Defendants will not be blindsided by sudden

pricing changes by their competitors.

         326.     Additionally, Defendants’ unlawful price-fixing scheme maintains occupancy rates

by manipulating inventories of available units: Defendants are also able to restrict the availability

of units to maintain artificially high lease prices that protect Yardi Client Defendants prices even

in down real estate markets from the problems short-term leases might otherwise pose when real

estate markets are declining. 116

         327.     The reason for favoring these shorter lease durations and increasing tenant churn is

obvious—it allows Landlords to increase rents more frequently.117

         328.     The Bureau of Labor Statistics (“BLS”) reports that in the first half of 2022, the

average percentage change in rent was 12% for new tenants, but only 3.5% for renewing tenants

(i.e., tenants who had a lease renewal within the previous six months). 118

         329.     Understanding Yardi’s actions also assists in explaining trends.

         330.     The BLS reports that leases of longer than one year have virtually disappeared.



116
    See Supra note 82; Supra Note 81; (“It may require a change in mentality, but there are some real opportunities to
realize rent gains with the use of a revenue management solution,”).
117
    See Banyan Living Achieves Rent Growth with Yardi RENTmaximizer, Business Wire (December 13, 2016);
https://www.businesswire.com/news/home/20161213005313/en/Banyan-Living-Achieves-Rent-Growth-with-Yardi-
RENTmaximizer
118
    U.S. Bureau of Labor Statistics, Consumer Price Index for All Urban Consumers: Rent of Primary Residence in
U.S. City Average [CUUR0000SEHA], retrieved from FRED, Federal Reserve Bank of St. Louis; https://fred.stlouisfe
d.org/series/CUUR0000SEHA, May 3, 2024.

                                                         56
        Case 4:24-cv-00085-CDL          Document 1       Filed 06/07/24      Page 57 of 80




        331.    Of all leases between January and June 2022, less than 9% were longer than one

year.

        332.    And even one-year leases become less common the longer a tenant lives in an

Apartment.

        333.    The BLS reports that of the tenants who lived in the same unit for five or more

years, only 49.7% had a twelve-month lease, while 50.3% had month-to-month leases, meaning

0% (allowing for rounding) had leases for a period longer than twelve months.

        H. Defendants’ Conduct Offers No Pro-Competitive Benefits

        334.    Defendants rent pricing scheme has not benefited competition.

        335.    It has also not had pro-competitive effects in the multifamily housing rental market.

        336.    Instead, widespread adoption of RENTmaximizer has distorted the multifamily

rental market: Defendants conduct has had the effect of benefiting them by increasing revenues

and profits; meanwhile, consumers have subsidized this misconduct by paying artificially inflated

prices for their rent.

        337.    Defendants’ misconduct has made it more arduous for consumers to discern and

procure meaningfully less expensive rental rates for comparable multifamily rental properties

offered by Defendants’ co-conspirators.

        338.    Assuming any procompetitive benefits from Defendants’ misconduct exist, they

would be minimal in nature and could not outweigh the substantial and anticompetitive effects of

this misconduct.

        I. Defendants’ Other Means Engaged to Advance Anticompetitive Strategy

        339.    Sharing confidential pricing information with a common pricing agent can be

equivalent to sharing that information directly with a competitor.



                                                 57
        Case 4:24-cv-00085-CDL                Document 1          Filed 06/07/24         Page 58 of 80




        340.     Where, as here, Plaintiffs’ allegations involve a conspiracy to centralize pricing

decisions in a third-party algorithm, it is irrelevant to the scheme whether landlords share

confidential information among themselves or with only the pricing agent; the alleged scheme is

designed to obviate the need for competitors to share information directly with each other.119

        341.     Even so, upon information and belief, Yardi actively creates and supports “User

Groups” made up of Yardi Client Defendants that Yardi uses to refine and perfect their unlawful

collusion.120

        342.     Yardi advises these User Groups are opportunities to exchange information and

ideas, and advances uniform and focused input to Yardi’s software developers.121

        343.     Yardi enables these User Groups by connecting Yardi Client Defendants to existing

user groups for membership and/or connect interested local parties so to form a user group.

        344.     Yardi software users include Yardi Client Defendants and Yardi’s software is

central to effecting collusion between Defendants.

        345.     Yardi’s corporate office maintains control over the user groups as the point of

contact for all user groups, despite their insistence the user groups are conducted by Yardi software

users’ members exclusively.122

        346.     Thus, Yardi promoted opportunities for direct feedback from their conspirators so

to perfect their mechanism of collusion during the same time as the primary parallel conduct

between Defendants.123


119
    See Statement of Interest of the United States, Duffy v. Yardi Systems Inc. et al., case number 2:23-cv-01391, in
the U.S. District Court for the Western District of Washington.
120
                      Yardi,                     “Community                      Support”                    (2023)”
https://web.archive.org/web/20230311055157/https:/www.yardi.com/services/user-groups.
121
    Id.
122
    Id.
123
    In 2023, Defendant Yardi’s website published supported approximately 17 User Groups in in at least 11 states,123
but as of May 2024, Yardi has hidden the existence of the User Groups. Compare
https://www.yardi.com/services/user-groups. Last Accessed May 6, 2024

                                                         58
       Case 4:24-cv-00085-CDL           Document 1       Filed 06/07/24     Page 59 of 80




       347.    Yardi’s support of these user groups and Yardi Client Defendants’ participation in

the groups to further share competitively sensitive information is inconsistent with Yardi Client

Defendants acting unilaterally in competition with each other and serves as commanding evidence

that the Defendants are coordinating and colluding, not competing.

       J. Parallel Conduct and “Plus Factors” Exclude the Possibility of Independent
          Action

       348.    Defendants’ actions to collude in the Multifamily Rental Market were dependent

and motivated by an intent to undermine competition advancing an anticompetitive strategy, and

so far evidenced by Defendants’ engagement in multiple forms of parallel conduct including (1)

entering into agreements to use RENTmaximizer and using RENTmaximizer during the same

periods of time; (2) each using pricing adjustments provided by Yardi’s RENTmaximizer with the

understanding that usage would produce artificially inflated prices; (3) each sharing sensitive

competitive pricing and occupancy data with Yardi with the understanding and expectation that

providing the information would contribute to artificially inflated prices; and (4) each

implementing significant rental price increases after beginning their usage of RENTmaximizer.

       349.    The multifamily real estate rental market has numerous “plus” factors that cause

the industry to be vulnerable to collusion and creates an environment that is not hospitable to

independent action.

       350.    The “plus factors” include (a) high barriers to entry into the market; (b) high

barriers to exit; (c) inelastic consumer demand; (d) market concentration; (e) the dissemination of

competitively sensitive information; (f) the availability for the opportunity to collude at trade

associations; and (g) actions that are against economic self-interest.

               a. High Barriers to Entry into the Market




                                                 59
       Case 4:24-cv-00085-CDL           Document 1        Filed 06/07/24      Page 60 of 80




       351.    A collusive arrangement that raises product prices above competitive levels would,

under basic economic principles, attract new entrants seeking to benefit from the supra-competitive

pricing.

       352.    Where, however, there are significant barriers to entry, new entrants are less likely

to enter the market.

       353.    Thus, entry barriers help facilitate the formation and maintenance of a collusion.

       354.    Such is the case here.

       355.    Multifamily residential real estate property owners and operators face significant

entry barriers, such as high maintenance costs, regulatory compliance, high acquisition costs, labor

costs, high construction costs, and high cost of acquiring property and establishing a property

management infrastructure.

       356.    Even small multifamily rental properties cost millions of dollars to acquire.

       357.    Large properties run into the hundreds of millions of dollars to own and manage.

       358.    They take several years and significant experience to build or acquire.

       359.    As a result, the multifamily leasing market is less attractive to new entrants,

businesses who just entered the market are less likely to be able to discipline cartel pricing.

       360.    In addition to building and acquisition costs, developing and maintaining a

multifamily rental housing property takes years. Thus, new entrants into the residential real estate

leasing market are unlikely to ameliorate collusive pricing.

               b. High Barriers to Exit out of the Market.

       361.     It is nearly impossible for renters to discipline cartel pricing due to high exit

barriers in this market.




                                                 60
       Case 4:24-cv-00085-CDL            Document 1      Filed 06/07/24      Page 61 of 80




       362.    Renters incur substantial cost and inconvenience when moving and, where price

escalation is occurring in broad geographic areas, they might not have a lower priced option in

reasonable proximity to where they currently live or work.

               c. Inelastic Consumer Demand

       363.    “Elasticity” is a term used to describe the sensitivity of supply and demand to

changes in one or the other.

       364.    For a cartel to profit from raising prices above competitive levels, demand must be

relatively inelastic at competitive prices.

       365.    Otherwise, increased prices would result in declining sales, revenues, and profits,

as customers purchased substitute products or declined to buy altogether.

       366.    Inelastic demand is a market characteristic that facilitates collusion, allowing

producers to raise their prices without triggering customer substitution and lost sales revenue.

       367.    The demand for multifamily residential property leases is inelastic.

       368.    First, in most cases, renters choose their place to live based on proximity to

community and lifestyle activities, workplace, or school and decide to live in those locations

despite price increases.

       369.    Second, the only realistic alternative to renting is buying, which is seldom an option

for renters who do not usually have the liquid capital to do so on short notice.

       370.    Finally, multifamily residential unit rental properties are susceptible to

standardization and are fungible.

       371.    This is especially true here when the competitively sensitive information Yardi

Client Defendants share with Yardi that is incorporated into RENTmaximizer is specific to unit

type, size, location, and lease length, the fact that multifamily property generally has various



                                                 61
       Case 4:24-cv-00085-CDL            Document 1      Filed 06/07/24      Page 62 of 80




characteristics does not impede on the ability of Yardi Client Defendants to coordinate rents

through RENTmaximizer.

       372.    Thus, there are no reasonable substitutes to discipline cartel pricing.

               d. Market Concentration

       373.    A highly concentrated market is more susceptible to collusion and other

anticompetitive practices.

       374.    Yardi dominates the property management software market, and Yardi Client

Defendants dominate the multifamily residential properties market in areas throughout the State

of Georgia and across the United States.

       375.    Taken together, the landlords hold a staggering market share of multifamily

residential property leases in this country.

       376.    The market for residential real estate property leases is highly concentrated, with

landlords and other smaller participants ferociously acquiring any emerging players in the market.

       377.    Most major metropolitan areas in the state are dominated by relatively few property

managers, with many large corporations like RAM having substantial presences in metropolitan

areas throughout Georgia.

               e. Dissemination of Competitively Sensitive Information

       378.    Yardi Client Defendants all agreed to submit their confidential business

information to Yardi RENTmaximizer with the knowledge that the system would use that data to

calculate rents for their competitors.

       379.    Such an agreement of mutual sharing and receiving competitors’ information

makes sense for Yardi Client Defendants only if they are assured that their competitors will not




                                                 62
         Case 4:24-cv-00085-CDL            Document 1         Filed 06/07/24        Page 63 of 80




use the information provided to gain competitive advantage, i.e., lure renters away through reduced

rents.

         380.    This agreement of mutual sharing and receiving competitors’ information benefits

the property managers and owners only if their competitors do not use the information to gain a

competitive advantage, i.e., offer reduced rents to renters.

                 f. Availability For the Opportunity to Collude at Trade Associations, Etc.

         381.    Yardi Client Defendants and Yardi have numerous opportunities to collude at the

Yardi Advanced Solutions Conferences (YASC) and social events.

         382.    YASC is a large-scale, well-attended social event exclusive to Yardi and its

clients.124

         383.    Upon information and belief, YASC is attended by about 2,000 people each event,

who pay approximately $1,195.00 to participate.

         384.    The convention includes “exclusive entertainment and fun social events.”

         385.    The agenda includes a two-hour lunch, a “Networking Reception,” and a four hour

“Yardi Party.”

         386.    During the 2023 YASC, Yardi “classes” include “Revenue IQ: Overview” which

is intended for “current Revenue IQ clients and others interested in growing their revenue” and

another titled “Revenue IQ: Introduction” which is intended for “[c]lients interested in an initial

introduction to Yardi’s revenue management offering[.]”125

         387.    In other words, Yardi uses YASC to introduce and sell Revenue IQ to attendants.




124
   YASC, YARDI.COM, https://www.yardi.com/yasc/north-america/
125
   Class Descriptions, YASC 2023, 21, https://resources.yardi.com/documents/yasc-class-descriptions/ (emphasis
supplied).

                                                     63
       Case 4:24-cv-00085-CDL          Document 1       Filed 06/07/24      Page 64 of 80




       388.    Since it first developed RENTmaximizer, Yardi has presented sessions and classes

at prior YASC’s in the past to introduce and sell RENTmaximizer to attendants.

       389.    For example, on November 8, 2017, Defendant Alco, a user of RENTmaximizer,

recounted a panel at the 2017 YASC:

               On the panel were Dana Patterson, director of asset management at ALCO
               Management, Maria Braun, ERP business analyst at Bigos Management
               and Lisa Friedman, database coordinator at HCA Management Services.
               Aaron Wells, the Yardi client services team leader for BI, moderated.
               ***
                Patterson explained that ALCO also used Yardi RENTmaximizer for
               revenue management, Yardi Payment Processing for electronic transactions
               and RentCafé for marketing, leasing and online resident services. The
               addition of Orion to its Voyager platform combines all of that operational
               and ancillary services data to deliver powerful analytics across its
               portfolio.126


       390.    Additionally, Yardi Defendants’ employee Client Managers and Yardi have

opportunity to collude through Yardi’s coordination of “User Groups” across the nation, as

discussed previously.

       391.    Once Landlords join the conspiracy Yardi organizes local and regional meetings at

which it encourages Landlords to refine and improve their collusion.

       392.    To “facilitate the exchange of information” among Landlords, “Yardi encourages

the development of active local User Groups.”

       393.    Yardi advised on their website that these User Groups help exchange information,

experiences, and ideas. Tellingly, Yardi hides from public scrutiny the names of the Yardi Client

Defendants’ landlords that are members of these User Groups as well as the time and location of

the groups’ meetings.



126
   The Benefits of BI, ALCO MANAGEMENT (Nov. 8, 2017), https://www.alcomgt.com/blog/2017/11/08/the-
benefits-of-bi/

                                                64
       Case 4:24-cv-00085-CDL           Document 1       Filed 06/07/24      Page 65 of 80




               g. Actions Against Economic Self-Interest

       394.    Defendants’ pricing strategy—dramatically increasing rents notwithstanding

market conditions—is irrational and against self-interest in a competitive market.

       395.    In the absence of changes in demand, no rational property managers would act

alone to raise rents as they did here during the class period, because any empty units exceeding the

competitive market price would be left vacant as potential renters would fill vacancies at

competitors’ properties who offer lower prices.

       396.    First, the Yardi Client Defendants submit their competitively sensitive pricing data

to Yardi knowing that all the Yardi Client Defendants are doing the same and that Yardi would

use that data to coordinate leasing prices among them.

       397.    Yardi Client Defendants all agreed to submit their confidential business

information to Yardi and for use by the Yardi RENTmaximizer database with the knowledge that

the algorithmic tool would use that data to calculate rents for their competitors.

       398.    Yardi Client Defendants’ agreement of mutual sharing and receiving competitors’

information only makes sense if they are assured that their competitors will not use the information

provided to gain competitive advantage and instead will engage in the same anticompetitive

actions.

       399.    This coordination is inconsistent with independent action motivated by an intent to

compete, which would drive Landlords to zealously protect this competitively sensitive

information from their competitors.

       400.    Second, the Landlords’ agreement not to compete on price is against their self-

interest in a competitive market.




                                                  65
       Case 4:24-cv-00085-CDL           Document 1        Filed 06/07/24       Page 66 of 80




        401.    Landlords acting independently and motivated to compete for renters would use

lower prices to entice renters and increase occupancy rates; that is the very essence of pricing in a

competitive market.

        402.    Thus, the Landlords’ conduct is inconsistent with a conclusion that they are acting

independently to compete more effectively. Defendants’ deceptive practices, which were

fraudulent, unlawful, against public policy, unscrupulous, and unfair to consumers like Plaintiff

and members of the Class in this action.

        403.    As a result of Defendants’ actions, Plaintiffs and members of the class suffered

substantial damages including out-of-pocket losses and seek to recover all available monetary and

equitable relief.

        K. Conspiracy to Fix Prices in the Relevant Market

        404.    Defendants’ actions described herein constitute a single unlawful conspiracy to fix,

raise, stabilize, or maintain the nationwide multifamily rental prices at artificially high levels, and

is per se illegal under the Sherman Act.

        405.    This agreement was evidenced by Yardi Client Defendants’ reciprocal exchange of

competitively sensitive information through Yardi and outsourced their independent price

decisions to a common decision maker.

        406.    Because of the horizontal nature of the alleged conspiracy, and because the conduct

alleged here increased prices and reduced output, if the Court declines to analyze this case under

the per se rule, the Court could conduct a “quick look” review.

        407.    Under either mode of analysis, Plaintiffs are not required to prove that Defendants

had market power in any defined antitrust market.




                                                  66
       Case 4:24-cv-00085-CDL            Document 1        Filed 06/07/24      Page 67 of 80




       408.      To the extent the Court decides to engage in the rule of reason analysis, the relevant

product market is the multifamily housing rental market, and the relevant geographic market is the

United States.

       409.      Consumers do not consider housing available for purchase as substitutes for

multifamily rental apartment units because, among other reasons, purchase of real estate requires

a substantial financial investment for a down payment that often requires financing.

       410.      In addition, the short-term nature of leases is not equivalent to long-term permanent

purchasing.

       411.      Nor is single-family real estate considered an economic substitute for multifamily

residential real estate, because of amenities, security, and availability.

       412.      The multifamily rental market satisfies the test for market definition used by federal

antitrust enforcement agencies, widely known as the “SSNIP test.”

       413.      The test asks whether a hypothetical monopolist in a proffered market could

profitably impose a small but significant (typically 5%), non-transitory increase in price (a

“SSNIP”), without causing a sufficient number of customers to switch to other products or services

such that the SSNIP would be unprofitable to the monopolist.

       414.      If the SSNIP is profitable, the market is properly defined.

       415.      If the SSNIP is not profitable, the market is too narrowly defined, and does not

encompass sufficient economic substitutes.

       416.      Here, the SSNIP test is satisfied, and the market is properly defined.

       417.      As described above, pursuant to the Landlord Defendants’ agreement not to

compete on price, Landlord Defendants are able to gain (according to Yardi) “on average more




                                                   67
       Case 4:24-cv-00085-CDL               Document 1         Filed 06/07/24        Page 68 of 80




than 6% net rental income growth,” those increases have not driven enough renters out of the

market such that the SSNIP has become unprofitable to Landlord Defendants.

        418.     On information and belief, RENTmaximizer is today widely used throughout the

United States by Yardi Client Defendants to set multifamily rental prices.127

                                  CLASS ACTION ALLEGATIONS

        419.     Plaintiffs bring this action on behalf of themselves and as representative of all

others similarly situated. Pursuant to Rules 23(a), 23(b)(2), 23(b)(3), and (c)(4) of the Federal

Rules of Civil Procedure, Plaintiffs seek certification of the following Class:

                 All persons and entities in the United States that leased multifamily housing

                 in the United States from a Defendant or from a division, subsidiary,

                 predecessor, agent, or affiliate of such Defendant, that utilized Yardi

                 Systems, Inc.’s, market intelligence tools, integrated technological services,

                 and       revenue         management           solutions,       explicitly       the

                 RENTmaximizer/Revenue IQ product at any time during the period of

                 September 8, 2019, until the Defendants’ unlawful conduct and its

                 anticompetitive effects cease to persist.

        420.     For purposes of the above class definitions, “market intelligence tools, integrated

technological services, and revenue management solutions” include any products sold by Yardi to

any Defendant in which the product’s function and/or algorithmic output to recommend pricing




127
     Patrick Nelson, Algorithms for Rent: The Price is Right, Tech News World (Mar. 12, 2013),
https://www.technewsworld.com/story/algorithms-for-rent-the-price-is-right-77498.html.         (“In       2013,
RENTmaximizer was used to price 8 million residential units around the world.”); See Yardi, Yardi RENTmaximizer
Market Analysis: 2013 Performance Results, The Balance Sheet: Yardi Corporate Blog (Mar. 1, 2015),
https://web.archive.org/web/20210302115856/https://www.yardi.com/blog/uncategorized/yardirentmaximizer-
market-analysis/12670.html. (“Yardi RENTmaximizer was quickly adopted by Yardi clients from the beginning” and
that “its adoption rate continues to grow exponentially.”).

                                                      68
       Case 4:24-cv-00085-CDL            Document 1        Filed 06/07/24    Page 69 of 80




for each rental unit is facilitated by exploiting Yardi Client Defendants’ sensitive pricing and

supply data for intermingled analysis.

        421.    Excluded from the Class are Defendants and their officers and directors,

governmental entities, Plaintiffs’ counsel, and the members of the judiciary and their staff to whom

this case is assigned and their immediate families. Plaintiffs reserve the right to revise the Class

definition, as appropriate, during this litigation.

        422.    The cumulation of Yardi’s client’s sensitive data affects the opportunity for

horizontal competitors to conspire to fix prices in their respective rental housing markets.

        423.    Numerosity: The members of the Class are so numerous and geographically

dispersed that individual joinder of all class members would be impracticable. The exact number

of Class members as of the date of filing is currently unknown to Plaintiffs but may be readily

identified and ascertained from the books and records maintained by Defendants. Individual

joinder of the members of the proposed Class and Subclass are impracticable because the members

of the Class and Subclass are in the tens or hundreds of thousands.

        424.    To a reasonable degree of certainty, the Defendants have objective evidence as to

the identity of each Class Member, the damages suffered by each Class Member, including but not

limited to rental agreements, payment information, receipts, and other information that objectively

identifies class members.

        425.    The use of mail, publication, and through records of Defendants would allow for

notification to Class Members regarding the pendency of this action.

       426.     Typicality: The Plaintiffs’ claims are typical of the claims of the proposed Class

because the Plaintiffs and Class Members were harmed in the same manner by the same conduct.

Plaintiffs and the other Class Members suffered damages as a direct and proximate result of these



                                                      69
       Case 4:24-cv-00085-CDL            Document 1        Filed 06/07/24      Page 70 of 80




same wrongful practices by Defendants. Plaintiffs’ claims arise from the same practices and

course of conduct that give rise to the other Class Members’ claims.

       427.     Plaintiffs and Class Members have all sustained economic injury arising from the

Defendants’ violations of common and statutory law as alleged in this complaint.

       428.     Adequacy: Plaintiffs will fairly and adequately protect and represent the interests

of the Class.

       429.     Plaintiffs’ interests do not conflict with the interests of the Class and Subclass that

they seek to represent. Plaintiffs will fairly and adequately protect the interests of the absent

members of the Class. Because their claims are typical of those of absent members of the Class,

Plaintiffs have every incentive to vigorously pursue those claims on behalf of absent Class

members, and their interests coincide with, and are not antagonistic to, those of the Class. Rather,

Plaintiffs share the same interest as Class members in putting an end to Defendants’ conduct.

       430.     Plaintiffs have retained competent counsel who are experienced in prosecuting

class actions, and the Plaintiffs intend to prosecute this action actively.

       431.     Plaintiffs and members of the Class are represented by counsel who are experienced

and competent in the prosecution of complex antitrust and unfair competition class actions.

       432.     Commonality and Predominance: Plaintiffs and members of the Class were all

injured by the same unlawful conduct, which resulted in all of them paying more for leases than

they otherwise would have in a competitive market.

       433.     This Complaint includes common questions of law and fact that affect Plaintiffs

and Class Members. Resolution of these questions will not require individual inquiry into the

actions or circumstances of individual Class Members and can be answered with evidence common

to all members of the Class.



                                                  70
      Case 4:24-cv-00085-CDL           Document 1        Filed 06/07/24      Page 71 of 80




      434.    This action involves common questions of law and fact, which predominate over

any questions affecting individual Class Members and which can be answered using evidence

common to the Class.

      435.    Questions of law and fact common to the Class include:

              a. Whether Defendants entered into a formal or informal contract, combination,

                  conspiracy, or common understanding to artificially inflate the price and/or

                  artificially suppress the supply of multifamily housing real estate leases;

              b. whether, in furtherance of the alleged formal or informal contract, combination,

                  conspiracy, or common understanding, the Defendants’ exchanged or shared

                  what would otherwise be confidential information;

              c. whether such conduct violates Section 1 of the Sherman Act under the per se,

                  quick look, or rule of reason modes of analysis;

              d. whether such conduct has in fact artificially inflated prices and/or artificially

                  suppressed supply of multifamily housing real estate leases from competitive

                  levels;

              e. The proper measure of damages; and

              f. What appropriate injunctive relief would accurately remediate the Defendants’

                  anticompetitive actions to prevent the same or similar conduct in the future.

      436.    The requirements of Fed. R. Civ. P. 23 (b)(3) are satisfied in that, as set forth above,

prosecution of separate actions by individual members of the class would create a risk of

inconsistent or varying adjudications with respect to individual members of the Class which would

establish incompatible standards of conduct for Defendants.




                                                71
         Case 4:24-cv-00085-CDL         Document 1        Filed 06/07/24         Page 72 of 80




         437.   Adjudications with respect to individual members of the Class would as a practical

matter be dispositive of the interests of the other members not parties to the adjudications and

would substantially impair or impede their ability to protect their interests.

         438.   All Class Members would benefit from the relief requested herein.

         439.   Superiority: The class mechanism is the superior method to all other available

methods for the fair and efficient adjudication of these claims for the Plaintiffs, Class Members,

and Subclass Members.

         440.   As the individual damages in this case are likely to be relatively small, individual

litigation is not practicable.

         441.   Additionally, it is unlikely that individual Class Members will want to undertake

the burden and expenses of an individual case.

         442.   Further, utilization of individualized litigation would increase the delay and

expense to the parties, and would exasperate the burden on the judicial system, and could also lead

to inconsistent or contradictory judgments.

         443.   The class action device would allow for fewer management difficulties, would

allow for singular adjudication, economy of scales, and comprehensive supervision by a single

court.

         444.   Questions of law and fact common to all Class Members predominate over any

questions that would affect only individual Class Members.

         445.   In each instance, the injuries sustained by Plaintiffs and Class Members flow from

a common nucleus of the operative facts.

         446.   The benefits of proceeding through the class mechanism, including providing

injured persons or entities with a method of obtaining redress for claims that might not be



                                                 72
       Case 4:24-cv-00085-CDL          Document 1       Filed 06/07/24      Page 73 of 80




practicable for them to pursue individually, substantially outweigh any difficulties that may arise

in the management of this class action.

      447.     All Class members would benefit from the injunctive relief requested herein.

Additionally, Defendants have acted and/or refused to act on grounds generally applicable to the

class, thereby making appropriate final injunctive relief or corresponding declaratory relief

appropriate with respect to the Class as a whole.

                                     CAUSES OF ACTION
I.   VIOLATION OF SECTION 1 OF THE SHERMAN ACT FOR AGREEMENT IN
RESTRAINT OF TRADE (HUB AND SPOKE CONSPIRACY)

   15 U.S.C. § 1 (On Behalf of Nationwide Class for Injunctive and Equitable Relief and
                                Compensatory Damages)

      448.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in paragraphs 1-447 of this Complaint.

      449.     Beginning in 2011, Defendants engaged in a continuing contract, combination, or

conspiracy to unreasonably restrain interstate trade and commerce in violation of Section 1 of the

Sherman Act, 15 U.S.C § 1.

      450.     The contract, combination, or conspiracy alleged herein has consisted of a

continuing agreement among Defendants to use Yardi’s pricing algorithms to artificially inflate

price in the nationwide market for multifamily rental housing.

      451.     This combination, generally known in antitrust law as a hub and spoke conspiracy,

consists of a combination of (1) a set of vertical agreements between Yardi Client Defendants and

Yardi that implement Yardi’s revenue management program and (2) a horizontal agreement

amongst all Defendants to use Yardi’s revenue management program.

      452.     The contract, combination, or conspiracy alleged herein has caused Plaintiffs and

Class members to suffer overcharge damages.

                                                73
       Case 4:24-cv-00085-CDL           Document 1        Filed 06/07/24       Page 74 of 80




      453.     There are no procompetitive justifications for the Defendants’ cartel, and any

proffered justifications, to the extent legitimate, could have been achieved through less restrictive

means.

      454.     Defendants’ conspiracy is a per se violation of Section 1 of the Sherman Act.

      455.     In the alternative, Defendants’ conspiracy violates section 1 of the Sherman Act

under either a quick look or rule of reason analysis.

    II. VIOLATION OF SECTION 1 OF THE SHERMAN ACT FOR
AGREEMENT IN RESTRAINT OF TRADE (SET OF VERTICAL AGREEMENTS)

   15 U.S.C. § 1 (On Behalf of Nationwide Class for Injunctive and Equitable Relief and
                                Compensatory Damages)
      456.      Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in paragraphs 1-447 of this Complaint.

      457.     Beginning in 2011, Defendants engaged in a continuing contract, combination, or

conspiracy to unreasonably restrain interstate trade and commerce in violation of Section 1 of the

Sherman Act, 15 U.S.C § 1.

      458.     The contract, combination, or conspiracy alleged herein has consisted of a set of

vertical agreements between Yardi Client Defendants and Yardi for each Yardi Client Defendants

to use Yardi’s pricing algorithms to set prices for multifamily rental housing.

      459.     Sets of vertical agreements are actionable as an overall combination under antitrust

law and are analyzed under the rule of reason.

      460.     Each individual agreement between a Yardi Client Defendant and Yardi in isolation

had the anticompetitive effect of artificially inflating prices for multifamily rental housing for that

Yardi Client Defendant.




                                                  74
       Case 4:24-cv-00085-CDL            Document 1       Filed 06/07/24      Page 75 of 80




      461.       In the aggregate, the set of vertical agreements between Yardi Client Defendants

and Yardi artificially inflated prices in the relevant market of multifamily rental housing in the

United States.

      462.       In particular, as a result of the vertical agreements, competitor Yardi Client

Defendants each delegated pricing to a centralized third party, Yardi, with the understanding that

Yardi revenue management software would inflate the rents that they collectively charged.

      463.       The contract, combination, or conspiracy alleged herein has caused Plaintiffs and

Class members to suffer overcharge damages.

      464.       There are no procompetitive justifications for the Defendants’ cartel, and any

proffered justifications, to the extent legitimate, could have been achieved through less restrictive

means.

      465.       Defendants’ conspiracy violates section 1 of the Sherman Act under either a quick

look or rule of reason analysis.

    III. VIOLATION OF SECTION 1 OF THE SHERMAN ACT FOR
CONSPIRACY TO EXCHANGE COMPETITIVE INFORMATION

   15 U.S.C. § 1 (On Behalf of Nationwide Class for Injunctive and Equitable Relief and
                                Compensatory Damages)
      466.       Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in paragraphs 1-447 of this Complaint.

      467.       Beginning in 2011, Defendants and their co-conspirators entered into a continuing

agreement to regularly exchange detailed, timely, competitively sensitive, and nonpublic

information about their operations.

      468.       This agreement is an unreasonable restraint of trade in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.



                                                  75
       Case 4:24-cv-00085-CDL           Document 1        Filed 06/07/24    Page 76 of 80




      469.     Defendants’ acts in furtherance of their combination or conspiracy were authorized,

ordered, or done by their officers, agents, employees, or representatives while actively engaged in

the management of Defendants’ affairs.

      470.     Defendants’ anticompetitive acts involved United States domestic commerce and

import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by

raising and fixing prices for multifamily real estate leases.

      471.     The relevant product market is the market for the lease of multifamily real estate

and the relevant geographic market is nationwide.

      472.     Defendants possess market power in the relevant antitrust market.

      473.     Defendants could impose an increase in the price of leases collectively without

causing many consumers to switch their purchases to another lease.

      474.     Leases constitute a unique product market.

      475.     The information regularly exchanged by Defendants pursuant to the agreement has

consisted of detailed, competitively sensitive, and non-public information about current supply,

production, and pricing plans regarding leasing.

      476.     Defendants’ regular information exchanges through Yardi reflected concerted

action between horizontal competitors in the market for leases.

      477.     Yardi Client Defendants understood and intended that the information they

provided would be incorporated into Yardi Matrix and also used, in aggregated fashion, to provide

pricing recommendations through RENTmaximizer.

      478.     Each Defendant furnished competitively sensitive information to other leasing

companies with the understanding that it would be reciprocated in the form of pricing

recommendations that utilized that data.



                                                  76
       Case 4:24-cv-00085-CDL           Document 1        Filed 06/07/24    Page 77 of 80




      479.     These reciprocal exchanges of information between Defendants constituted a

horizontal exchange of information.

      480.     The collective agreement to regularly exchange detailed and non-public

information about current production, supply, and pricing of leases suppressed competition

between the Defendants.

      481.     When Defendants that are competing for the same consumers exchange competitive

information, it reduces the incentives to compete on price.

      482.     Accordingly, Defendants used the data obtained through Yardi’s RENTmaximizer

to reduce the uncertainty that they each should have faced from not knowing what their competitors

were offering and providing in the leasing market.

      483.     This strategic information was a material factor in Defendants’ decisions to inflate

the prices that Plaintiffs and Class members paid for leases during the Class Period.

      484.     Defendants’ unlawful agreements to exchange, and the actual exchanges of

nonpublic, timely, and detailed data were not reasonably necessary to further any procompetitive

purpose.

      485.     The information exchanged between Defendants was current, easily traceable to its

source, confidential, and related to a core characteristic of competition between them.

      486.     The information-exchange agreement has had the effect of (1) reducing and

suppressing competition among Defendants in the nationwide multifamily market, and (2)

inflating the prices of leases during the Class Period.

      487.     As a result of Defendants’ unlawful conduct, Plaintiffs and the members of the

Class have been harmed by being forced to pay inflated prices for leases.




                                                 77
       Case 4:24-cv-00085-CDL          Document 1        Filed 06/07/24      Page 78 of 80




      488.     As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs

and members of the Class have been injured in their business or property and will continue to be

injured in their business and property by paying more for leases than they would have paid and

will pay in the absence of the conspiracy.

      489.     This horizonal agreement to exchange information constitutes a violation of Section

1 of the Sherman Act under a rule of reason analysis.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the Class of all others so similarly

situated, respectfully request judgment against Defendants as follows:

       A.      The Court determine that this action may be maintained as a class action under Rule

               23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiffs

               as Class Representatives and their counsel of record as Class Counsel, and direct

               that notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil

               Procedure, be given to the Class, once certified;

       B.      The unlawful conduct, conspiracy, or combination alleged herein be adjudged and

               decreed in violation of Section 1 of the Sherman Act;

       C.      Plaintiffs and the Class recover damages, to the maximum extent allowed under the

               applicable laws, and that joint and several judgments in favor of Plaintiffs and the

               members of the Class be entered against Defendants in an amount to be trebled to

               the extent such laws permit.

       D.      Defendants, their affiliates, successors, transferees, assignees and other officers,

               directors, partners, agents, and employees thereof, and all other persons acting or

               claiming to act on their behalf or in concert with them, be permanently enjoined



                                                 78
       Case 4:24-cv-00085-CDL           Document 1       Filed 06/07/24      Page 79 of 80




                and restrained from in any manner continuing, maintaining, or renewing the

                conduct, conspiracy, or combination alleged herein, or from entering into any other

                conspiracy or combination having a similar purpose or effect, and from adopting or

                following any practice, plan, program, or device having a similar purpose or effect;

        E.      Plaintiffs and the members of the Class be awarded pre- and post- judgment interest

                as provided by law, and that such interest be awarded at the highest legal rate from

                and after the date of service of this Complaint;

        F.      Plaintiffs and the members of the Class recover their costs of suit, including

                reasonable attorneys’ fees, as provided by law; and

        G.      Plaintiffs and the members of the Class have such other and further relief as the

                case may require and the Court may deem just and proper.

                                   JURY TRIAL DEMANDED

        Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.




Dated: June 7, 2024                           By: Alison D. Hawthorne
                                              W. Daniel “Dee” Miles, III, pro hac forthcoming
                                              Paul W. Evans, pro hac forthcoming
                                              Lauren E. Miles, pro hac forthcoming
                                              Alison D. Hawthorne (Bar ID #652795)
                                              BEASLEY, ALLEN, CROW, METHVIN,
                                              PORTIS & MILES, P.C.
                                              272 Commerce Street
                                              Montgomery, Alabama 36104
                                              (334) 269-2343
                                              Dee.Miles@beasleyallen.com
                                              Alison.Hawthorne@beasleyallen.com
                                              Lauren.Miles@beasleyallen.com
                                              Paul.Evans@beasleyallen.com


                                                 79
Case 4:24-cv-00085-CDL   Document 1   Filed 06/07/24    Page 80 of 80




                             Rebecca D. Gilliland pro hac forthcoming
                             Jessica M. Haynes, pro hac forthcoming
                             BEASLEY, ALLEN, CROW, METHVIN,
                             PORTIS & MILES, P.C.
                             301 St. Louis St.
                             Mobile, Alabama 36602
                             (251) 308-1515
                             Rebecca.Gilliland@beasleyallen.com
                             Jessica.Haynes@beasleyallen.com

                             Michael W. Slocumb (Bar ID #146170)
                             Charles W. Beene, pro hac forthcoming
                             Slocumb Law Firm, LLC
                             1967 East Samford Avenue
                             Auburn, AL 36830
                             mike@slocumblaw.com
                             cbeene@slocumblaw.com




                               80
